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     EXHIBIT A
To Zlateski Declaration
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             Scalable Algorithms for Semi-Automatic
    Segmentation of Electron Microscopy Images of
                                           the Brain Tissue
                                                              by
                                            Aleksandar Zlateski
Submitted to the Department of Electrical Engineering and Computer
                                   Science
       in partial fulfillment of the requirements for the degree of
                           Doctor of Philosophy
                                   at the
        MASSACHUSETTS INSTITUTE OF TECHNOLOGY
                                 June 2016
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           Department of Electrical Engineering and Computer Science
                                                                                                       April 25, 2016
Certified by . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                          H. Sebastian Seung
                                                                    Professor of Computer Science
                                                                                              Thesis Supervisor
Certified by . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                     Frédo Durand
                                                                    Professor of Computer Science
                                                                                              Thesis Supervisor
Certified by . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                            Nir Shavit
                                                                    Professor of Computer Science
                                                                                              Thesis Supervisor
Accepted by . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                  Professor Leslie A. Kolodziejski
                 Chairman, Department Committee on Graduate Theses
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  Scalable Algorithms for Semi-Automatic Segmentation of
         Electron Microscopy Images of the Brain Tissue
                                          by
                               Aleksandar Zlateski

   Submitted to the Department of Electrical Engineering and Computer Science
                  on April 25, 2016, in partial fulfillment of the
                         requirements for the degree of
                              Doctor of Philosophy


Abstract
I present a set of fast and scalable algorithms for segmenting very large 3D images of
brain tissue. Currently, light and electron microscopy can now produce terascale 3D
images within hours. Extracting the information about the shapes and connectivity
of the neurons require fast and accurate image segmentation algorithms. Due to the
sheer size of the problem, traditional approaches might be computationally infeasible.
    I focus on an segmentation pipeline that breaks up the segmentation problem into
multiple stages, each of which can be improved independently. In the first step of
the pipeline, convolutional neural networks are used to predict segment boundaries.
Watershed transform is then used to obtain an over–segmentation, which is then
reduced using agglomerative clustering algorithms. Finally, manual or computer–
assisted proof reading is done by experts.
    In this thesis, I revisit the traditional approaches for training and applying convo-
lutional neural networks, and propose:

   ∙ A fast and scalable 3D convolutional network training algorithm suited for
     multi–core and many–core shared memory machines. The two main quantities of
     the algorithm are: (1) minimizing the required computation by using FFT–based
     convolution with memoization, and (2) parallelization approach that can utilize
     large number of CPUs while minimizing any required synchronization.

   ∙ A high throughput inference algorithm that can utilize all available computational
     resources, CPUs and GPUs. I introduce a set of highly parallel algorithms for
     different layer types and architectures, and show how to combine them to achieve
     very high throughput.

   Additionally, I study the theoretical properties of the watershed transform of edge–
weighed graphs and propose a liner–time algorithm. I propose a set of modification to
the standard algorithm and a quasi–linear agglomerative clustering algorithm that can
greatly reduce the over–segmentation produced by the standard watershed algorithm.

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Thesis Supervisor: H. Sebastian Seung
Title: Professor of Computer Science

Thesis Supervisor: Frédo Durand
Title: Professor of Computer Science

Thesis Supervisor: Nir Shavit
Title: Professor of Computer Science




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                              To Mimsy,
               for having an infinite amount of Energy.
                         . . . Aroooooooooo. . .
              and for Jumping on me while writing this.
                          . . . Woof, woof. . .




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Chapter 1

Introduction

I remember the first time seeing a 3D stack of EM1 images of mouse retina. Amazed
with what I was looking at, I asked myself a question “so now we can understand how
the brain functions?”. Unfortunately, the answer was – “not yet”.
      It turned out that most of my PhD research will focus on developing tools and
algorithms that allow for better understand the images I was looking at back then.
      The first structural map of the nervous system connectivity, of the nemoatode
caenorhabditis elegans was published by White at al [3] in 1986. This opened a door
for a new field of science – connectomics. In order to better understand how the brain
functions, connectomics studies the shapes, topology and the “wiring diagram” of
neurons – a comprehensive map of neural connections in the brain.
      Currently, light and electron microscopy can now produce terascale 3D images
within hours [4, 5]. Extracting the information about the shapes and connectivity of
the neurons require accurate image segmentation algorithms. The sheer size of the
problem renders the traditional segmentation approaches computationally infeasible.
      For efficient segmentation, the traditional approach is replaced with a multi–step
segmentation process that forms a segmentation pipeline. With this approach, one can
then focus on improving each stage of the pipeline independently. As each stage of
the algorithm is computationally very intensive, having fast and scalable algorithms
for each stage is crucial.
  1
      Electron Microscopy


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                          Acquisition and                               Manual
                            registration                             segmentation


                                                      Dataset



          ConvNet                                    ConvNet
         inference                                   training

                             ConvNet                                     Training
                                                                           data



                            Watershed
                                                                     Agglomeration
                            transform


          Affinity                               Over-segmentation
          graph


                           Human proof-
                             reading

                                                      Automatic
                                                    segmentation




Figure 1-1: A pipeline for segmenting 3D images of neural tissue. The input to
the pipeline is brain tissue prepared for imaging [1], and the output is the final
segmentation. Algorithms for the processes in green and yellow color are discussed in
this thesis.




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1.1      Overview
Segmenting terascale 3D images is a challenging problem. A common strategy in
recent work is to split the segmentation procedure into multiple steps – forming a
pipeline [6, 7, 8, 9, 10, 11]. Roughly speaking, all proposed pipelines consist of the
following steps:

  1. Using deep convolutional neural networks for boundary prediction.

  2. Creating a conservative over–segmentation using the watershed transform.

  3. Applying agglomerative clustering algorithms to reduce the over–segmentation.

  4. Manual or computer–assisted proof reading to generate the final segmentation.

   A detailed pipeline is shown in Figure 1-1. The specific feature of this pipeline
is that the boundary prediction is done by learning “affinity graphs”, which can be
effectively done using ConvNets [12]. A watershed transform on graphs is then applied
to obtain over–segmentation.
   Even though the main motivation behind the proposed algorithms in this thesis
lie within this pipeline, each algorithm is designed with much wider application in
mind. The choice of the pipeline, or possible alternatives are not discussed in the
thesis. However, the described pipeline had produced high quality segmentations that
had led to discoveries in the field of neuroscience [9, 10, 11].
   In this thesis we focus on designing fast and scalable algorithms for the steps
marked in green and yellow on Figure 1-1. The contribution to the agglomeration
step is distinguished with yellow color, because our algorithms are designed for speed.
Their goal is to reduce the conservative over–segmentation of the watershed transform
without introducing false mergers. This approach allows for using more sophisticated
and computationally complex agglomeration algorithms as an additional step. As
such, they can be viewed as extensions of the watershed transform, rather than a full
agglomeration solution.
   Alternative pipelines might include some or all of these steps and benefit from the
algorithms studied in this thesis.

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      In order to understand the need for the proposed algorithms we need to study the
pipeline in a little bit more detail.


1.1.1       Acquisition and manual segmentation

In the very first step of the pipeline (Fig. 1-1) a prepared brain tissue is imaged.
This is typically done by automatic sectioning and imaging [9]. Using tools such as
TrackEM2 [13], the obtained 2D images are then assembled and aligned to form a
3D image. A subset of the data is then segmented by hand to be used for training
ConvNets.


1.1.2       Affinity learning using ConvNets

A 3D affinity graph is an edge weighted graph where each voxel2 of the 3D image
represents a node. Edges exist between adjacent voxels. Edge weights represent the
likelihood of the two incident voxels belonging to the same segment. Common affinity
graphs have 6, 14 or 26-connectivity, which means that each voxel is connected to 6,
14 or 26 adjacent voxels.
      Turaga at al. [12] shows that ConvNets can be trained to generate affinity graphs
for segmenting 3D images. For a 6–connectivity affinity graphs, the ConvNets need 3
outputs. Each output represents the likelihood of the voxel belonging to the same
segment as its neighbor along positive 𝑥, 𝑦 and 𝑧 directions (Figure 1-2).
      A hand segmented 3D images are converted to “ground truth” affinity graphs by
examining adjacent voxels. The affinity value is set to 1 or 0 depending on whether
the two adjacent voxels belong to the same segment. As the hand segmentation can
have unsegmented voxels – voxels not belonging to any segment, some nodes in the
affinity graph might have all incident edge affinities set to 0.
      The “ground truth” affinity graphs are then used to train and validate ConvNets.
There is no recipe for choosing the size, topology and training method for a ConvNet
that produces best results. Choosing the best network is often a trial and error process,
  2
      3D pixel


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Figure 1-2: Using ConvNets for learning affinity graphs. The three outputs of the
network represent the probabilities of a pixel belonging to the same segment as 3
adjacent pixels in the positive 𝑥, 𝑦, 𝑧 directions. Affinity graphs can be rendered by
having the affinities correspond to the RGB values of each voxel color.




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where one has to train many networks with different architectures and compare their
performances. As training ConvNets is computationally very expensive, it is important
to accelerate the training. As our first contribution, in Section 2, we propose fast and
scalable algorithms for training deep 3D ConvNets.
   The proposed algorithm is not specific for this stage of the pipeline, but rather
provide speedup in training any 2D/3D ConvNet. Depending on the network structure,
our algorithm can improve the training time of ConvNets used for object detection
and/or localization, image/video segmentation, etc. . .


1.1.3     ConvNet inference

In the next step of the pipeline, a trained ConvNet is applied to the dataset to generate
the predicted edge weights for the affinity graph of the whole dataset.
   The computation performed for ConvNet inference (generating prediction using a
trained ConvNet) is equivalent to the one of the first step of the ConvNet training
algorithm (Section 2). One could assume just using the first step of an “efficient”
training algorithm would be an “efficient” way of applying a ConvNet on a large
dataset. This is, however, not the case. The “efficiency” of a training algorithm
is measured by its latency – time required to perform a round of training. On the
other side, the “efficiency” of ConvNet inference is measured in throughput – average
number of output voxels computed per unit time.
   As our second contribution, in Section 3, we propose a set of algorithms for
maximizing the throughput of 3D ConvNet inference.


1.1.4     Generating over-segmentation by the watershed trans-
          form of the affinity graph

The watershed transform of topological images has historically been widely used in
image segmentation [14, 15, 16, 17]. The algorithm originates from mathematical
morphology where an image represents a topographic surface. It is inspired by the
drop of water principle [18] where a drop of water follows the gradient of the image to

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finally reach a local minimum.
   The result of the watershed transform is typically a conservative over–segmentation [6,
7, 8, 9, 10, 11]. This set of the pipeline is, however, not necessary. The agglomeration
algorithms can be applied directly on the affinity graph, having each individual voxel
as separate segment in the initial segmentation.
   State of the art agglomeration algorithms run in polynomial time, with the exponent
larger than one [19, 20]. Having a conservative over–segmentation obtained by the
watershed transform, which runs in linear time, can greatly reduce the time required
for agglomeration.
   Efficient algorithms for the watershed transform of topological images, as well
as their properties are well known [14, 15, 16, 17]. However, there is little study of
watershed transforms of graphs.
   In the first part of Section 4 we study the theoretical properties of watershed
segmentation of an edge–weighted undirected graphs. We present an algorithm that
runs in linear–time in terms of the number of edges in the graph. The algorithm
produces segmentation similar to the one of “watershed cuts,” [18, 21, 22] except that
it divides non-maximal plateaus more evenly.


1.1.5     Segment agglomeration

In the last automated stage of the pipeline, agglomerative clustering algorithms are
applied to the over–segmentation obtained by the watershed transform to produce the
final segmentation. An agglomerative clustering algorithm considers each segment as
a cluster, and iteratively merges pairs of clusters creating a hierarchical segmentation.
   Using sophisticated agglomeration algorithms described by Jain at al. [23, 24] and
Uzunbaş at al. [25] can greatly reduce over–segmentations. The complexity of their
algorithm, however, requires the number of initial clusters to be relatively small. For
terascale datasets, the number of segments produced by the watershed transform can
still be extremely large, rendering the before–mentioned agglomeration algorithms
computationally infeasible.
   In the second part of Section 4 we propose a set of modifications to the water-

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shed transform of edge–weighted graphs, as well as a quasi–linear agglomeration
algorithm that uses prior knowledge about the true segments to greatly reduce the
over–segmentation.
   There are two major advantages to our approach. First, the quasi–linear runtime
makes it suitable for very large graphs. Second, the resulting segmentation greatly
reduces the number of segments while introducing virtually no false merges. The
result will still represent an over–segmentation, however, the number of segments will
be greatly reduced (by orders of magnitude).
   The goal of our methods to not to produce results superior to the ones of more
computationally costly algorithms [23, 24, 26, 27, 25], but rather to make such
approaches computationally feasible.
   As such, the algorithm describe Section 4 could be considered an extension to
the watershed segmentation of graphs or a pre–processing step before applying more
advanced agglomeration algorithms.
   It turns out that in some cases our algorithms can produce results comparable
to much more advanced approaches. Our algorithm ranks fifth (as of April 2016) on
the SNEMI3D segmentation challenge [28] with results comparable to much more
advanced and computationally expensive approaches.


1.1.6    Proof–reading

In the final step of the pipeline, the automatically obtained segmentation is proof–
read by humans. Analyzing and understanding the function of the topology and
connectivity of the neurons relies on near 100% accurate segmentation.
   The proof reading is typically done by experts, or in the case of eyewire platform [29]
by computer–assisted crowdsourcing. The proof-read segmentation obtained by the
crowd knowledge on Eyewire had been used by Kim at al. [10] to understand how
mammalian retina detects motion.
   Generally, proof–reading consists of editing the automatically produced segmenta-
tion by merging and splitting segments. Merging two falsely split segments is typically
trivial, however, splitting a falsely merged segments can be much more labor intensive,

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as it might require tracing the exact boundary of a segment. In the case of eyewire [29],
the splitting functionality is not even provided. In this case, the algorithms described
in Section 4 are sufficient.



1.2      Summary of contributions and thesis structure
In this thesis, we develop novel algorithms for the computationally intensive stages of
the segmentation pipeline. The proposed algorithms are not specific to the pipeline,
and can be applied to much wider set of problems. For that reason, we try to organize
the thesis such that the presentation of each algorithm is as self–contained as possible.
This allows the reader to easily focus on parts applicable to their problem.
   The three major contributions include:

   ∙ A fast and scalable algorithm for training 2D and 3D convolutional networks on
      multi-core and many-core shared memory machines (Chapter 2). Our algorithm
      efficiently utilizes available cores to speed–up training of convolutional networks.
      The large amount of RAM available to the CPU allows for training very large
      networks.

   ∙ High throughput inference method that will reduce the time required to process
      large datasets (Chapter 3). We propose a set of novel primitives for ConvNet
      inference suited for both the CPU and the GPU. We propose a method that
      combines these primitives, utilizing all available computational power (CPUs
      and GPUs) in order to maximize the inference throughput.

   ∙ We examine the watershed transform on edge–weighted graphs (Chapter 4).
      We analyze its theoretical properties and propose a linear–time algorithm. We
      propose quasi–linear methods for reducing over–segmentation when there is prior
      knowledge about the sizes of the true segments.

   Finally in Appendix A we show how the proposed algorithms can be used on a
sample pipeline.


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Chapter 2

ZNN – A Fast and Scalable
Algorithm for Training 3D
Convolutional Networks on
Multi-Core and Many-Core Shared
Memory Machines

Convolutional networks (ConvNets) have become a popular approach to computer
vision. It is important to accelerate ConvNet training, which is computationally
costly. We propose a novel parallel algorithm based on decomposition into a set of
tasks, most of which are convolutions or FFTs. Applying Brent’s theorem to the
task dependency graph implies that linear speedup with the number of processors
is attainable within the PRAM model of parallel computation, for wide network
architectures. To attain such performance on real shared-memory machines, our
algorithm computes convolutions converging on the same node of the network with
temporal locality to reduce cache misses, and sums the convergent convolution outputs
via an almost wait-free concurrent method to reduce time spent in critical sections.
We implement the algorithm with a publicly available software package called ZNN.

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Benchmarking with multi-core CPUs shows that ZNN can attain speedup roughly
equal to the number of physical cores. We also show that ZNN can attain over 90x
speedup on a many-core CPU (Xeon PhiTM Knights Corner). These speedups are
achieved for network architectures with widths that are in common use. The task
parallelism of the ZNN algorithm is suited to CPUs, while the SIMD parallelism
of previous algorithms is compatible with GPUs. Through examples, we show that
ZNN can be either faster or slower than certain GPU implementations depending on
specifics of the network architecture, kernel sizes, and density and size of the output
patch. ZNN may be less costly to develop and maintain, due to the relative ease of
general-purpose CPU programming.



2.1      Introduction

A standard formulation of supervised learning starts with a parametrized class of
mappings, a training set of desired input-output pairs, and a loss function measuring
deviation of actual output from desired output. The goal of learning is to minimize
the average loss over the training set. A popular minimization method is stochastic
gradient descent. For each input in sequence, the parameters of the mapping are
updated in minus the direction of the gradient of the loss with respect to the parameters.
Here we are concerned with a class of mappings known as convolutional networks
(ConvNets).
   Significant effort has been put into parallelizing ConvNet learning on GPUs, as
in the popular software packages Caffe [30], Torch [31] and Theano[32]. ConvNet
learning has also been distributed over multiple machines [33]. However, there has
been relatively little work on parallelizing ConvNet learning for single shared memory
CPU machines.
   Here we introduce a software package called ZNN, which implements a novel
parallel algorithm for ConvNet learning on multi-core and many-core CPU machines.
ZNN implements 3D ConvNets, with 2D as a special case. ZNN can employ either
direct or FFT convolution, and chooses between the two methods by autotuning each

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Figure 2-1: ConvNet computation graph. Leftmost node is input image, and rightmost
nodes are output images. Edges represent convolution (red), transfer function (green),
and max pooling/filtering (blue) operations.




layer of the network. FFT convolution was previously applied to 2D ConvNets running
on GPUs [34, 35], and is even more advantageous for 3D ConvNets on CPUs.


   As far as we know, ZNN is the first publicly available software that supports
efficient training of sliding window max-pooling ConvNets, which have been studied
by [36, 37, 38].


   There is related work on using Xeon PhiTM for supervised deep learning [39, 40]. and
unsupervised deep learning [41]. A comparison of multi-core and GPU parallelization
has been studied by [42]. What all these methods have in common is that they
utilize fork-join model provided by OpenMP to run multiple instances of the standard
backpropagation algorithm in parallel, or to parallelize certain parts of the algorithm.
This model resembles the SIMD parallelism of the GPU in the sense that each thread
executes the same code on different data; however the execution is not necessary done
at the same time.


   In contrast, ZNN introduces a novel task parallelization model optimized specifically
for ConvNets. This model can achieve higher utilization of the available CPUs, and
has lower memory overhead; thus it can train much larger models efficiently.

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2.2        Computation graph

We define a ConvNet using a directed acyclic graph (DAG), called the computation
graph (Fig. 2-1). Each node represents a 3D image, and each edge some image filtering
operation. (2D images are a special case in which one of the dimensions has size
one.) If multiple edges converge on a node, the node sums the outputs of the filtering
operations represented by the edges. The nodes of a computation graph 𝐺 = (𝑉, 𝐸)
with no incoming or outgoing edges are considered inputs or outputs of the ConvNet
respectively. Given a set of input images, assigned to each input node, the ConvNet
computes an image for each other node in the computation graph as shown below.

                                             ∑︁
                                     𝐼𝑣 =             𝑓𝑢,𝑣 (𝐼𝑢 )                      (2.1)
                                            (𝑢,𝑣)∈𝐸

      For convenience, the discussion below will assume that images and kernels have
isotropic dimensions, though this restriction is not necessary for ZNN. The image
filtering operations, 𝑓𝑢,𝑣 in Equation 2.6 are of the four following types.
      Convolution A weighted linear combination of voxels within a sliding window
is computed for each location of the window in the image. The set of weights of the
linear combination is called the kernel. If the input image has size 𝑛3 and the kernel
has size 𝑘 3 , then the output image has size 𝑛′3 = (𝑛 − 𝑘 + 1)3 . Image size decreases
because an output voxel only exists when the sliding window is fully contained in
the input image.1 Every convolutional edge (𝑢, 𝑣) has an assigned kernel 𝑤𝑢,𝑣 and
performs the following filtering operation.


                                   𝑓𝑢,𝑣 (𝐼𝑢 ) = 𝐼𝑢       * 𝑤𝑢,𝑣
                                                      valid
                                                                                      (2.2)

      The convolution is allowed to be sparse, meaning that only every 𝑠th image voxel
(in every dimension) within the sliding window enters the linear combination.
      Max-pooling divides an image of size 𝑛3 into blocks of size 𝑝3 , where 𝑛 is divisible
by 𝑝. The maximum value is computed for each block, yielding an image of size (𝑛/𝑝)3 .
  1
      This is known as a valid convolution in MATLAB.


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                                                                  ′   ′   ′
                            𝑓𝑢,𝑣 (𝐼𝑢(𝑥,𝑦,𝑧) ) = max
                                                ′ ′ ′
                                                      {𝐼𝑢(𝑥 ,𝑦 ,𝑧 ) }              (2.3)
                                                𝑥 ,𝑦 ,𝑧


   where,


                             𝑝 · 𝑥 ≤ 𝑥′ < (𝑝 + 1) · 𝑥
                             𝑝 · 𝑦 ≤ 𝑦 ′ < (𝑝 + 1) · 𝑦
                             𝑝 · 𝑧 ≤ 𝑧 ′ < (𝑝 + 1) · 𝑧

   Max-filtering The maximum within a sliding window is computed for each
location of the window in the image. For a window of size 𝑘 3 and an input image of
size 𝑛3 , the output image has size (𝑛 − 𝑘 + 1)3 . 3D max-filtering can be performed by
sequential 1D max-filtering of 𝑛2 arrays in each of the three directions. For each array
we keep a heap of size 𝑘 containing the values inside the 1D sliding window. Each
element of the array will be inserted and removed at most once, each operation taking
log 𝑘. For each position of the sliding window the top of the heap will contain the
maximum value.


                                                                  ′   ′   ′
                            𝑓𝑢,𝑣 (𝐼𝑢(𝑥,𝑦,𝑧) ) = max
                                                ′ ′ ′
                                                      {𝐼𝑢(𝑥 ,𝑦 ,𝑧 ) }              (2.4)
                                                𝑥 ,𝑦 ,𝑧


   where,


                                  𝑥 ≤ 𝑥′ < 𝑘 + 𝑥
                                  𝑦 ≤ 𝑦′ < 𝑘 + 𝑦
                                  𝑧 ≤ 𝑧′ < 𝑘 + 𝑧

   Transfer function adds a number called the bias to each voxel of the image and
then applies a nonlinear function to the result. The nonlinear function is typically
nondecreasing. Common choices are the logistic function, the hyperbolic tangent and
half-wave rectification.


                                                      ′   ′   ′
                           𝑓𝑢,𝑣 (𝐼𝑢(𝑥,𝑦,𝑧) ) = 𝜃(𝐼𝑢(𝑥 ,𝑦 ,𝑧 ) + 𝑏𝑢,𝑣 )             (2.5)

   The computational complexities of max-pooling, max-filtering, and transfer func-

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                Pass         Pooling Filtering       Transfer function
                Forward      𝑓 · 𝑛3  𝑓 · 6𝑛3 log 𝑘   𝑓 · 𝑛3
                                  3
                Backward     𝑓 ·𝑛    𝑓 · 𝑛3          𝑓 · 𝑛3
                Update       −       −               𝑓 · 𝑛3

Table 2.1: Number of floating point operations (FLOPs) required by a layer with
𝑓 nodes that all perform the same nonlinear filtering operation (max-pooling, max-
filtering, or transfer function).

tion are shown in Table 2.1.
   For ConvNets in common use, the computation graph has the following properties:

   ∙ All convergent edges are convolutions; if a node has a sole incoming edge, the
      edge represents a nonlinear filtering operation.

   ∙ Nodes with convergent edges are not adjacent in the graph, but are separated from
      each other by nonlinear filtering edges. This is a reasonable constraint, because
      a composition of two convolutions can be collapsed into a single convolution,
      thereby simplifying the graph.

   ∙ The graph has a layered organization in which all edges in a layer represent
      operations of the same type.

   ZNN works for general computation graphs, whether or not they possess the above
properties.


2.2.1     Sliding window max-pooling ConvNet

A max-pooling ConvNet in the context of visual object recognition [43] is a special case
of the definition given above. No max-filterings are used. The size of the input image
(known as the ConvNet field of view) is such that the convolutions and max-poolings
reduce the output image(s) to exactly one pixel/voxel. There may be a single output
representing whether or not the input image belongs to a given object class, or a set
of 𝑛 outputs representing membership in one of 𝑛 object classes.
   If localization and detection are desired as well as recognition, one can slide a
window over a large image, and apply the max-pooling ConvNet at each location of the

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                                                  Convolution               Convolution



                                                Max-Pool                  Max-Filter



                                           Convolution                  Sparse Convolution




Figure 2-2: The output of a sliding window max-pooling ConvNet (left) can be
efficiently computed by a max-filtering ConvNet with sparse convolution (right).


window [38]. For an input image of size 𝑛3 and a ConvNet field of view of size 𝑣 3 , the
output image is of size (𝑛 − 𝑣 + 1)3 . The sliding window max-pooling ConvNet is also
useful in the context of boundary detection and image segmentation [44]. However, it is
computationally wasteful to literally implement the computation in this way. It is more
efficient to use a max-filtering ConvNet, in which each max-filtering layer increases
the sparsity of all subsequent convolutions by a factor equal to the size of the max-
filtering window (Fig. 2-2). This approach has been called skip-kernels [38] or filter
rarefaction [45], and is equivalent in its results to max-fragmentation-pooling [37, 36].
ZNN can implement the above, but is more general as the sparsity of convolution need
not increase in lock step with max-filtering, but can be controlled independently.
   This sparsity control capability can confer a great deal of flexibility on ConvNets.
It could be useful when implementing a “scale-invariant” ConvNet [46], where con-
volutions with shared kernel weights are performed at multiple scales to capture
scale-invariant features. The scale-invariant convolution can be easily achieved by
controlling the sparsity of convolutions. Unlike max-pooling, max-filtering does not
decrease the resolution of filtered images. Thus, every image in max-filtering Con-
vNets keeps the original resolution. This is particularly beneficial to the multi-scale
approach [45, 47], where images with multiple resolutions are combined together to
construct the representation. In max-pooling ConvNets, upsampling is commonly
used to adjust the different resolutions of images at multiple levels. Max-filtering
ConvNet, in contrast, removes the need for such upsampling in an elegant and much

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more efficient way.



2.3     Backpropagation learning

The backpropagation algorithm is a way of calculating the gradient of the loss function
with respect to the trainable parameters in a ConvNet, the kernels and biases. For
each input, the calculation proceeds in several phases:

  1. Obtain an input and desired output from the training set.

  2. Forward pass - compute the actual output of the ConvNet from the input image.

  3. Compute the gradient of the loss function with respect to the actual output.

  4. Backward pass - Compute the gradient of the loss function with respect to the
      voxels of the output image at each node.

  5. Weight update - Compute the gradient of the loss function with respect to the
      kernels and biases, and update these parameters in the direction of minus the
      gradient.

The forward pass has already been described above. ZNN implements several possi-
bilities for the loss function, such as the Euclidean distance between the actual and
desired outputs.


2.3.1     Backward pass

It turns out that the backward pass can be represented by another graph that looks
the same as the forward computation graph, except that the direction of every edge
is reversed – 𝐺′ = (𝑉, 𝐸 ′ ), where (𝑢, 𝑣) ∈ 𝐸 ′ if and only if (𝑣, 𝑢) ∈ 𝐸. The output
nodes of the forward graph become the input nodes of the backward graph, and are
initialized with the gradient of the loss function with respect to the voxels of the
output nodes of the forward graph. The nodes of the backward graph are associated

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with their own images (𝐿𝑣 ), which are distinct from the ones associated with the nodes
of the forward graph (𝐼𝑣 ).

                                               ∑︁
                                     𝐿𝑣 =               𝑔𝑢,𝑣 (𝐿𝑢 )                                    (2.6)
                                            (𝑢,𝑣)∈𝐸 ′

      Every edge in the backward graph is multiplication by the transpose of the
Jacobian matrix of the operation represented by the corresponding edge in the forward
computation graph. The four edge operations in the forward graph become the
following four edge operations in the backward graph.
      Convolution Jacobian Convolution in the forward pass becomes convolution in
the backward pass. The kernel is the same, except that it is reflected along all three
dimensions. Reflecting an 𝑁 -dimensional image along all dimensions is easily and
efficiently implemented through a one-dimensional flipping of the memory used by the
image. Alternatively, one could store one bit of metadata (regular or flipped) about
the state of the image.


                                    𝑔𝑢,𝑣 (𝐿𝑢 ) = 𝐿𝑢        * 𝑤𝑣,𝑢
                                                         full
                                                              𝑅
                                                                                                      (2.7)

      If the input image has size 𝑛3 and the kernel has size 𝑘 3 , then the output image has
size 𝑛′3 = (𝑛 + 𝑘 − 1)3 . Image size increases because an output voxel exists whenever
the sliding window has some overlap with the input image.2
      Max-pooling Jacobian Within each block, all voxels are zeroed out except for
the one that was identified as the maximum within that block in the forward pass.
An image of size 𝑛3 is expanded into an image of size 𝑛3 𝑝3 .


                       ⎧                                 (︂                      )︂
                       ⎪
                       ⎨𝐿(⌊𝑥/𝑝⌋,⌊𝑦/𝑝⌋,⌊𝑧/𝑝⌋)   if   𝑓𝑣,𝑢 𝐼𝑣(⌊𝑥/𝑝⌋,⌊𝑦/𝑝⌋,⌊𝑧/𝑝⌋)        = 𝐼𝑣(𝑥,𝑦,𝑧) ,
                       ⎪
                       ⎪
                         𝑢
        𝑔𝑢,𝑣 (𝐿(𝑥,𝑦,𝑧)
               𝑢       )=⎪                                                                            (2.8)
                         ⎩0                    otherwise
                         ⎪
                         ⎪



      Max-filtering Jacobian Every element of an image of size 𝑛′3 = (𝑛 + 𝑘 − 1)3
  2
      This is known as a full convolution in MATLAB.


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is initialized to zero. For each position of the sliding window the appropriate value
of the input is accumulated to the position from which the maximum element was
selected for that window in the forward pass.


                                                                                 ′    ′
                                                                                 ,𝑦 ,𝑧 )  ′
                                          𝑔𝑢,𝑣 (𝐿(𝑥,𝑦,𝑧)                     𝐿(𝑥
                                                                ∑︁
                                                 𝑢       )=                   𝑢                     (2.9)
                                                              𝑥′ ,𝑦 ′ ,𝑧 ′


   for all valid elements (𝑥′ , 𝑦 ′ , 𝑧 ′ ) such that,


                   (︂                )︂
                                                                       𝑥 − 𝑘 < 𝑥′ < 𝑘 + 𝑥
                         ′   ′   ′
               𝑓𝑣,𝑢 𝐼𝑣(𝑥 ,𝑦 ,𝑧 )            = 𝐼𝑣(𝑥,𝑦,𝑧) and 𝑦 − 𝑘 < 𝑦 ′ < 𝑘 + 𝑦
                                                                       𝑧 − 𝑘 < 𝑧′ < 𝑘 + 𝑧

   Transfer function Jacobian Every voxel of a backward image is multiplied by
the derivative of the transfer function for the corresponding voxel in the forward
image.


                                                                      𝜕𝑓𝑣,𝑢 (𝑥,𝑦,𝑧)
                                                                                 (︂           )︂
                             𝑔𝑢,𝑣 (𝐿(𝑥,𝑦,𝑧)
                                    𝑢       )      =   𝐿(𝑥,𝑦,𝑧)
                                                        𝑢           ·       𝐼𝑣                     (2.10)
                                                                       𝜕𝐼


2.3.2     Weight update

After the forward and backward passes are complete, there are “forward images” at
the nodes of the forward computation graph, and “backward images” at the nodes of
the backward computation graph (except the input nodes). These are used to update
the kernels and biases as follows.
   Kernel update For a convolution going from node 𝑢 to node 𝑣 in the forward
graph, the gradient of the loss with respect to the kernel is computed by convolving
the reflected forward image at node 𝑢 with the backward image at node 𝑣. A valid
convolution is performed, yielding an image the same size as the kernel. This is
multiplied by a small “learning rate parameter,” and then subtracted from the kernel.


                                            Δ𝑤𝑢,𝑣 = −𝜇 · 𝐼𝑢𝑅
                                                                        valid
                                                                              * 𝐿𝑣                 (2.11)

                                                          38
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      Bias update For a bias of an transfer function edge 𝑏𝑢,𝑣 , the gradient of the loss
is calculated as the sum of all voxels in the backward image at node 𝑣. The scalar
result is multiplied by a small “learning rate parameter,” and then subtracted from
the bias.


                                                               𝐿(𝑥,𝑦,𝑧)
                                                       ∑︁
                                 Δ𝑏𝑢,𝑣 = −𝜇 ·                   𝑣                      (2.12)
                                                       𝑥,𝑦,𝑧




2.4         Direct vs. FFT convolution

The convolution theorem states that the Fourier transform of a convolution is the
pointwise product of Fourier transforms of the two signals, hence a convolution of 𝑓
and 𝑔 can be performed as:

                                                 (︂                       )︂
                              𝐼1 * 𝐼2 = ℱ   −1
                                                      ℱ(𝐼1 ) · ℱ(𝐼2 )                  (2.13)

      For a single convolution of an image of size 𝑛3 with a kernel of size 𝑘 3 , it is
well-known that the FFT method (complexity 𝒪(𝑛3 log 𝑛)), becomes more efficient
than the direct method (complexity 𝒪(𝑛3 𝑘 3 )), for sufficiently large kernel sizes. The
crossover point of equal complexity satisfies 𝑘 3 ∼ log 𝑛. It is less well-known that the
FFT-direct crossover occurs at smaller kernel sizes for a ConvNet than for a single
convolution [34, 35]. This is because the FFT of an image at a node can be shared by
edges at that node (see Table 2.2).3 ZNN performs layerwise auto-tuning to choose
between FFT-based or direct convolution for each layer.
      Complexity can be further reduced by memoizing the FFTs of images and kernels
obtained during the forward pass for reuse during the backward pass and weight
update. This possibility was previously noted in passing but not implemented due to
limited onboard GPU memory [34, 35]. Equations 2.15 show how the FFT transforms
can be reused to perform all required convolutions. 𝐼 𝑅 denotes an image 𝐼 that is
reflected along all three dimensions. The reduction in complexity is approximately a
  3
   Note that our values differ from the ones in [34] as we take into account the difference in
complexity between full and valid convolutions.


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                Pass         Direct
                Forward      𝑓 ′ · 𝑓 · 𝑛′3 · 𝑘 3
                Backward     𝑓 ′ · 𝑓 · 𝑛′3 · 𝑘 3
                Update       𝑓 ′ · 𝑓 · 𝑛′3 · 𝑘 3
                Total        3𝑓 ′ · 𝑓 · 𝑛′3 · 𝑘 3


                Pass         FFT-based
                Forward      3𝐶𝑛3 log 𝑛[𝑓 ′ + 𝑓          + 𝑓 ′ · 𝑓 ] + 4𝑓 ′ · 𝑓 · 𝑛3
                Backward     3𝐶𝑛3 log 𝑛[𝑓 ′ + 𝑓          + 𝑓 ′ · 𝑓 ] + 4𝑓 ′ · 𝑓 · 𝑛3
                Update       3𝐶𝑛3 log 𝑛[𝑓 ′ + 𝑓          + 𝑓 ′ · 𝑓 ] + 4𝑓 ′ · 𝑓 · 𝑛3
                Total        9𝐶𝑛3 log 𝑛[𝑓 ′ + 𝑓          + 𝑓 ′ · 𝑓 ] + 12𝑓 ′ · 𝑓 · 𝑛3


                Pass         FFT-based (Memoized)
                Forward      3𝐶𝑛3 log 𝑛[𝑓 ′ + 𝑓 + 𝑓 ′ · 𝑓 ] + 4𝑓 ′ · 𝑓 · 𝑛3
                Backward     3𝐶𝑛3 log 𝑛[𝑓 ′ + 𝑓 ] + 4𝑓 ′ · 𝑓 · 𝑛3
                Update       3𝐶𝑛3 log 𝑛[𝑓 ′ · 𝑓 ] + 4𝑓 ′ · 𝑓 · 𝑛3
                Total        6𝐶𝑛3 log 𝑛[𝑓 ′ + 𝑓 + 𝑓 ′ · 𝑓 ] + 12𝑓 ′ · 𝑓 · 𝑛3

Table 2.2: Computational complexity of a fully connected convolutional layer, which
maps 𝑓 input images to 𝑓 ′ output images using 𝑓 𝑓 ′ kernels. FFT complexity for an
𝑛 × 𝑛 × 𝑛 image is assumed to be 𝐶𝑛3 log 𝑛3 . Complexity is measured in number of
floating point operations.

third (Table 2.2).


                                                (︂                       )︂
                       𝐼𝑢 * 𝑤𝑢,𝑣 = ℱ       −1
                                                     ℱ(𝐼𝑢 ) · ℱ(𝑤𝑢,𝑣 )
                                                              )︂ 𝑅
                                       ⎡                        ⎤
                                                 (︂
                       𝐿𝑢 * 𝑤𝑣,𝑢
                             𝑅
                                 =     ⎣ℱ −1 ℱ(𝐿𝑅 ) · ℱ(𝑤𝑢,𝑣 ) ⎦
                                                           𝑢                            (2.14)

                                                            )︂ 𝑅
                                       ⎡                      ⎤
                                                 (︂
                        𝐼𝑢𝑅 * 𝐿𝑣 =     ⎣ℱ −1 ℱ(𝐼𝑢 ) · ℱ(𝐿𝑅 ) ⎦
                                                                    𝑣




2.5     Task dependency graph
The entire gradient learning calculation can be represented by the task dependency
graph (Fig. 3-3). Each node represents one of the four forward operations (convolution,

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Figure 2-3: Task dependency graph. Each edge of the computation graph (Fig. 2-1)
generates multiple nodes of the task dependency graph, corresponding to forward
(circle), backward (square), and update (diamond) tasks. Node colors indicate transfer
function (green), convolution (red), pooling/filtering (blue), input provider (yellow),
loss gradient (purple).


max-pooling/filtering, transfer function), four backward operations (Jacobians), or
two update operations (kernel, bias) described above. Two additional tasks interface
with the training set. The data provider obtains a training sample used for a single
round of training, and the loss gradient calculates the gradient of the loss with
respect to the network output.
   The edges of the task dependency graph represent dependencies. The forward task
of an edge 𝑒 = (𝑢, 𝑣) in the computation graph depends on forward pass tasks of all
edges (𝑤, 𝑢). The backward task of the same edge depends on the backward tasks
of all edges (𝑣, 𝑤). Finally the update task of an edge depends on both forward and
backward tasks of the same edge.
   Additionally, if there was a backward pass executed before the current forward
pass, the forward task of 𝑒 also depends on the previous update task of 𝑒. This is
relevant because gradient learning is iterative, so the gradient is calculated repeatedly
by cycling through forward, backward, and update.
   Fig. 3-3 shows the ConvNet learning graph corresponding to the ConvNet compu-
tation graph of Fig. 2-1. Steps 3 − 5 of one iteration of gradient learning are followed

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by steps 1 and 2 of the next iteration. This is because we enforce synchronization
after each forward pass. Therefore forward tasks are at the bottom of the graph, and
backward tasks at the top. The topmost purple circle nodes represent the tasks that
calculate the gradient of the loss with respect to the output of the network obtained
in the previous forward pass. The yellow circle in the middle represents the task
providing the input image for the forward tasks at the bottom. Note that there are
no update tasks for pooling/filtering. The bottom two green circles, which represent
the output of the forward pass are dependencies for the tasks of the next 3 − 5, 1, 2
round represented by the top two purple circles.



2.5.1      Theoretically achievable speedup

Define 𝑇𝑃 as the time required for 𝑃 processors to perform one learning iteration.
We would like a parallel algorithm that achieves a large speedup 𝑆𝑃 = 𝑇1 /𝑇𝑃 , and
ideally one that approaches linear speedup, 𝑆𝑃 = 𝑃 . This should be possible for “wide”
ConvNet architectures, which contain many convolutions that can be done in parallel.
We formalize this intuition in the following.
   According to Brent’s theorem [48], if a computation can be performed in 𝑇∞ time
with an infinite number of processors, then

                                                𝑇1 − 𝑇∞
                                 𝑇𝑃 ≤ 𝑇∞ +                                      (2.15)
                                                   𝑃

This amounts to a speedup of at least

                                       𝑇1      𝑆∞
                                𝑆𝑃 ≡      ≥                                     (2.16)
                                       𝑇𝑃   1 + 𝑆∞𝑃−1

We will refer to the right hand side as the “theoretically achievable speedup,” because
it depends on the idealized assumptions of the PRAM model used to prove Brent’s
theorem.
   We will estimate the theoretically achievable speedup for layered architectures
in which every convolutional layer is fully connected. As before, time complexity is

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measured in number of floating point instructions. We can already estimate 𝑇1 by
summing the times in Tables 2.1 and 2.2 for each layer of the network. To estimate
𝑇∞ , we analyze the following algorithm employing an infinite number of processors.


   1. Move sequentially through the layers, and perform all forward tasks in each layer
        in parallel.

   2. Compute the loss gradient for all output nodes in parallel.

   3. Move sequentially backward through the layers, and perform all backward tasks
        in each layer in parallel.

   4. Perform the weight updates for all kernels and biases in parallel.


      Since the layers are done sequentially, the total time for the forward pass is
the sum of contributions from each layer (convolutional, transfer function, or max
pooling/filtering) as specified in Tables 2.3 and 2.4. The time for the backward pass
is calculated similarly. Since all kernel and bias updates are done in parallel, the
total update time is the maximum of the individual update times, as specified in
Tables 2.3 and 2.4. The sum of forward, backward, and update times yields the time
complexity of one gradient learning iteration.
      Most of the formulas in the tables do not depend on the widths of the layers, 𝑓 and
𝑓 ′ . This is because all tasks in a layer are done in parallel. The only exception is that
the complexity of a convolutional layer depends logarithmically on width (⌈log2 𝑓 ⌉),
because summing the results of 𝑓 convergent convolutions requires this amount of
time using the binary collapse algorithm described in [48].
      Plots of the theoretically achievable speedup (2.16) for networks of different width
and depth are shown in Fig. 2-44 . In all cases, 𝑆𝑃 → 𝑃 in the limit of large network
width 𝑓 . This is because 𝑇1 scales like 𝑓 2 for large 𝑓 (see terms in Table 2.2), while
𝑇∞ scales like log 𝑓 (see terms in Table 2.3). It follows that 𝑆∞ diverges with 𝑓 , so
the bound on 𝑆𝑃 in Eq. (2.16) is equal to 𝑃 in the limit of large 𝑓 .
  4
      The constant 𝐶 for the FFT operations is assumed to be 5.


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Achievable Speedup   120                                                               120




                                                                  Achievable Speedup
                     100                            8 CPUs
                                                                                       100                            8 CPUs
                                                    18 CPUs                                                           18 CPUs
                      80                            40 CPUs                             80                            40 CPUs
                                                    60 CPUs                                                           60 CPUs
                                                    120 CPUs                                                          120 CPUs
                      60                                                                60

                      40                                                                40

                      20                                                                20

                       0                                                                 0
                           0   20   40    60   80    100   120                               0   20   40    60   80    100   120
                                    Network width                                                     Network width
                                         (a)                                                               (b)

Figure 2-4: Theoretically achievable speedup (2.16) using (a) direct convolution (b)
FFT-based convolution with memoizing enabled. Multiple lines of the same color
represent networks with different depths, ranging from 4 to 40. The kernels in all the
networks have size of 53 .


                      According to Fig. 2-4, the network width at which 𝑆𝑃 reaches a fixed fraction (say
75%) of its maximal value (𝑃 ), increases with 𝑃 . This behavior is consistent with
Eq. (2.16). We expect 𝑆𝑃 to approach a fixed fraction of 𝑆∞ when 𝑆∞ ≈ 𝑃 . Since
𝑆∞ scales like 𝑓 2 (neglecting the logarithmic factor due to 𝑇∞ ), this should happen
when 𝑓 2 ≈ 𝑃 . The power of two means that the theoretically achievable speedup
approaches its maximum value even for networks with rather modest widths.



2.6                            Task scheduling and execution

Brent’s theorem guarantees the existence of a parallel algorithm that achieves a large
speedup for training wide ConvNets. We now turn to the problem of designing a
parallel algorithm that actually achieves large speedup in practice. Since Brent’s
theorem assumes no synchronization and communication overhead, we design our
algorithm to minimize synchronization overhead and increase temporal locality of
computation to reduce cache misses.
                      The central quantity in our algorithm is a global priority queue that contains tasks
that are ready to be executed together with their priority. A predetermined number

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        Pass                 Direct                         FFT-based
        Forward – 𝑇∞𝑓 𝑤𝑑
                             𝑛′3 · 𝑘 3 + 𝑛′3 ⌈log2 𝑓 ⌉      6𝐶𝑛3 log 𝑛 + 4𝑛3 ⌈log2 𝑓 ⌉
        Backward – 𝑇∞  𝑏𝑤𝑑
                             𝑛′3 · 𝑘 3 + 𝑛3 ⌈log2 𝑓 ′ ⌉     6𝐶𝑛3 log 𝑛 + 4𝑛3 ⌈log2 𝑓 ′ ⌉
        Update – 𝑇∞𝑢𝑝𝑑𝑎𝑡𝑒
                             𝑛′3 · 𝑘 3                      6𝐶𝑛3 log 𝑛 + 4𝑛3


        Pass                 FFT-based (Memoized)
                    𝑓 𝑤𝑑
        Forward – 𝑇∞         6𝐶𝑛3 log 𝑛 + 4𝑛3 ⌈log2 𝑓 ⌉
        Backward – 𝑇∞  𝑏𝑤𝑑
                             6𝐶𝑛3 log 𝑛 + 4𝑛3 ⌈log2 𝑓 ′ ⌉
                   𝑢𝑝𝑑𝑎𝑡𝑒
        Update – 𝑇∞          3𝐶𝑛3 log 𝑛 + 4𝑛3

Table 2.3: Time required to perform operations on fully connected convolutional layers
with infinite number of processors available.

               Pass                   Pooling     Filtering Transfer function
                           𝑓 𝑤𝑑
               Forward – 𝑇∞           𝑛3          6𝑛3 log 𝑘 𝑛3
                              𝑏𝑤𝑑
               Backward – 𝑇∞          𝑛3          𝑛3        𝑛3
                          𝑢𝑝𝑑𝑎𝑡𝑒
               Update – 𝑇∞            −           −         𝑛3

Table 2.4: Time required to perform pooling, filtering and transfer function on a full
layer with infinite number of processors available.


of workers will then execute the tasks from the global queue. Each worker picks up
and executes a task with the highest priority on the queue.


2.6.1      Scheduling algorithm

Assuming that all tasks require roughly the same amount of time to execute, a well-
known scheduling heuristic for achieving low latency is to prioritize each task by the
distance of the longest path to any sink node in the task dependency graph.
   We will modify this heuristic for update tasks. These will be given lower priority
in the queue than all other tasks, and execution will be forced whenever the dependent
forward task is scheduled for execution. This modification has little effect on latency,
and forced execution respects cache locality.
   The priority of a forward (backward) task of an edge 𝑒 = (𝑢, 𝑣) is given by the
ordered pair (𝑑, 𝑛), where 𝑑 is the longest distance from the node 𝑣 to any output
(input) node in the ConvNet computation graph and 𝑛 is the index of 𝑣 in some total
ordering of the nodes of the ConvNet computation graph. Ordering by 𝑑 is a heuristic

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for low latency, and ordering by 𝑛 breaks ties in a way that increases cache locality.
   A backward or update task is placed in the priority queue when all its dependencies
are satisfied. A forward task is placed in the queue when all its non-update dependencies
are satisfied, and its update dependency is queued, executing, or complete.



2.6.2     Task execution algorithms

Forward task algorithm is shown in the Algorithm 1. The main functionality of
the forward task is to apply the appropriate Forward-Transform on the given
input image 𝐼 and accumulate the result to the sum stored in the output node. The
task that adds the last image to the sum then queues all dependent forward tasks for
execution.
   The main functionality of the forward task is shown in the procedure Do-Forward.
However such procedure can only be executed when the update task from the previous
round has been completed. This is ensured by creating a new sub-task containing the
main functionality and calling the Force method.

Algorithm 1 Executing a forward task

Forward-Task(𝑒, 𝐼)
1 𝑡 = Create-Task(Do-Forward, 𝑒, 𝐼)
2 Force(𝑒.update_task, 𝑡)

Do-Forward(𝑒 = (𝑢, 𝑣), 𝐼)
1 𝐼 𝑜𝑢𝑡 = 𝑒.Forward-Transform(I )
2 if Add-To-Sum(𝑣.fwd_sum, 𝐼 𝑜𝑢𝑡 )
3       𝑣.If = Get-Sum(𝑣.fwd_sum)
4       for 𝑒′ ∈ 𝑣.out_edges
5            𝑡 = Create-Task(Forward-Task, 𝑒′ , 𝑣.If )
6            Enqueue(𝑒′ .fwd_priority, 𝑡)



   The Force function receives an update task and a forward subtask as parameters.
The goal of the function is to execute the forward subtask but also make sure that
the update task has been completed. In order to do that the method first examines

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the state of the update task which can be one of the following (Note that the Force
is called from the thread scheduled to execute the appropriate forward task).

  1. Completed - the execution of the update task has been completed; in this case
     the calling thread just executes the forward subtask.

  2. Queued - the update task is on the queue waiting to be scheduled for execution;
     in this case the update task is removed from the queue, and the calling thread
     executes both the update task and the forward subtask.

  3. Executing - the update task is currently being executed by some other thread;
     in this case the forward subtask gets attached to the update task. This flags the
     thread executing the update task to execute the forward subtask as soon as the
     update task is completed. The calling thread then returns and picks up another
     task for execution.

   Such design ensures that no thread is ever waiting for completion of an update
task, but rather executes the required update task itself, or delegates the forward
subtask to the thread currently executing the update task.

Algorithm 2 Executing a backward task

Backward-Task(𝑒 = (𝑢, 𝑣), 𝐼)
 1 𝐼 𝑜𝑢𝑡 = 𝑒.Backward-Transform(I )
 2 if 𝑒.is_trainable
 3       𝐼𝑓 = 𝑢.fwd_image
 4       𝑒.update_task = Create-Task(Update, 𝑒, 𝐼𝑓 , 𝐼)
 5       Enqueue(lowest_priority, 𝑒.update_task)
 6 if Add-To-Sum(𝑢.bwd_sum, 𝐼 𝑜𝑢𝑡 )
 7       𝑢.Ib = Get-Sum(𝑢.bwd_sum)
 8       for 𝑒′ ∈ 𝑢.in_edges
 9            𝑡 = Create-Task(Backward-Task, 𝑒′ , 𝑢.Ib )
10            Enqueue(𝑒′ .bwd_priority, 𝑡)



   Backward task algorithm is shown in Algorithm 2. When scheduled for execution,
all the dependencies of the backward task have been satisfied. The backward task

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then applies the appropriate Backward-Transform on the given image and then
queues an appropriate update task for execution with the lowest common value as
priority. Similarly to the forward task, the transformed image is then added to the
sum stored in the input node, and the thread to add the last image to the sum queues
the dependent tasks for execution.
   Update tasks algorithm is shown in Algorithm 3. First the gradient of the loss
is calculated, and then is multiplied by a small “learning rate” 𝜂 and subtracted from
the set of the training parameters (weights of the kernel or the bias). Finally, if a
forward subtask has been attached it is detached and executed.

Algorithm 3 Executing an update task

Update(𝑒, 𝐼𝑓 , 𝐼𝑏 )
1 𝐺 = 𝑒.Compute-Gradient(𝐼𝑓 , 𝐼𝑏 )
2 𝑒.params = 𝑒.params − 𝑒.𝜂 · 𝐺
3 if 𝑡ℎ𝑖𝑠.fwd_subtask
4      𝑡 = 𝑡ℎ𝑖𝑠.fwd_subtask
5      𝑡ℎ𝑖𝑠.fwd_subtask = NIL
6      Execute(𝑡)




2.7     Synchronization issues

It is important to minimize the amount of time spent in critical sections – parts of
the code that can be only executed by a single thread at a time.
   The main three points in the algorithm that require synchronization are mem-
ory management (allocation/deallocation), operations on the global task queue and
concurrent summations.


2.7.1    Queue operations

The operations on the global task priority queue have to be synchronized. The queue
is implemented as a heap of lists lowering the complexity of insertion and deletion

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from log 𝑁 to log 𝐾, where 𝑁 is the total number of tasks in the queue and 𝐾 is the
number of distinct values for the priority of the tasks inside the queue. Depending
on the network structure, this number can be much smaller than the total number of
tasks in the queue, which is especially true for wide networks.



2.7.2     Wait-free concurrent summation

When multiple edges converge on the same node in the computation graph, it means
that multiple convolutions executed in parallel need to add their results to the same
accumulated sum. The additions have to be synchronized; only one thread is allowed
to change the sum. The naive strategy, waiting until all other threads have finished
adding their images to the sum, would lead to critical section time that scales linearly
with the image size 𝑛3 . We propose a novel method that eliminates the dependence
on image size by performing only pointer operations inside the critical section, which
works as follows.
   Suppose that multiple threads are executing Add-To-Sum in Algorithm 4. For
each thread, 𝑣 points to a different 3D image. We would like the pointer to the sum of
all these images to be stored in the object 𝑆 when the computation terminates. This
is accomplished by having each thread repeatedly try to reset the pointer to the sum
stored in 𝑆.sum to point to 𝑣 instead. If the thread succeeds, it stops working. If the
thread fails, it adds the value pointed to by 𝑆.sum to the location referenced by 𝑣,
and sets the pointer to NIL. Every thread continues to work until it succeeds. Once
the last thread succeeds, 𝑆 will contain the correct answer. Note that this algorithm
does the time-consuming additions outside the critical section (lines 5-11).



2.7.3     Memory management

ZNN implements two custom memory allocators. These are designed to be faster
than standard memory management routines, at the cost of using more memory. One
custom allocator is dedicated to 3D images, which are usually large, and the other is
dedicated to small objects used in auxiliary data structures. Both allocators maintain

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Algorithm 4 Wait-free concurrent summation algorithm

Add-To-Sum(𝑆, 𝑣)
 1 𝑣 ′ = nil
 2 𝑙𝑎𝑠𝑡 = false
 3 while TRUE
 4       Acquire(𝑆.lock)
 5            if 𝑆.sum == nil
 6                 𝑆.sum = 𝑣
 7                 𝑣 = nil
 8                 𝑆.total = 𝑆.total + 1
 9                 𝑙𝑎𝑠𝑡 = (𝑆.total == 𝑆.required)
10            else 𝑣 ′ = 𝑆.sum
11                 𝑆.sum = nil
12       Release(𝑆.lock)
13       if 𝑣 == nil
14            return 𝑙𝑎𝑠𝑡
15       else Add-To(𝑣, 𝑣 ′ ) // 𝑣 = 𝑣 + 𝑣 ′

Get-Sum(𝑆)
1 𝑣 ′ = 𝑆.sum
2 𝑆.sum = nil
3 𝑆.total = 0
4 return 𝑣 ′




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32 global pools of memory chunks. Each pool 𝑖, 𝑖 ∈ 0 . . . 31 contains chunks of sizes of
2𝑖 . Lock-free queues, as described in [49] and implemented as a part of the boost [50]
library are used to implement the pool operations. The only difference between the
allocators is the memory alignment—the 3D image memory allocator ensures proper
memory alignment for utilizing SIMD instructions. No memory is shared between the
two allocators.
   When a chunk of memory of size 𝑠 is requested, first 𝑠 is rounded up to the nearest
power of 2. The appropriate pool is examined for available memory chunks. If there’s
an available chunk we return it and remove it from the pool. If no chunks are available
we allocate one from the system and return it.
   When de-allocating a chunk memory, it is simply added to the appropriate pool,
and no memory is ever returned to the system. This means that the memory usage
of our program can never decrease. In practice, as the ConvNet training consist of a
single loop performing the same work, our memory usage peaks after a few rounds.
   In the worst case this strategy can lead to near 2× memory usage overhead; however
the available memory to the CPU is rarely a limiting factor in training a network. In
the future, we might consider implementing more advanced memory allocators, such
as ones with thread-local pools in addition to the global pool, or ones with higher
granularity of available chunk sizes to reduce the size overhead.
   Using jemalloc [51, 52] for small object allocation yields similar performance
with a bit less overhead, however we decided to use our own implementation as the
default one, in order to minimize the number of dependencies and make the code more
portable.



2.8      Scalability

We performed measurements of the speedup achieved by our proposed parallel al-
gorithm relative to the serial algorithm, using the CPU systems listed in Table 2.5.
Amazon EC2 instances with 8 and 18 cores (c4.4xlarge and c4.8xlarge) were chosen
for benchmarking, because they are readily available to anyone. A 4-way CPU system

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           CPU                            Frequency Cores/Threads
                R XeonTM E5-2666 v3
           Intel○                         2.9 GHz   8 cores/16 threads
                R XeonTM E5-2666 v3
           Intel○                         2.9 GHz   18 cores/36 threads
                R XeonTM E7-4850
           Intel○                         2.0 GHz   40 cores/80 threads
                R XeonTM E7-8890v3
           Intel○                         2.5 GHz   72 cores/144 threads
           Intel○Xeon
                R     PhiTM 5110P         1.053 GHz 60 cores/240 threads

                    Table 2.5: Machines used for the experiments


was included because it has 40 cores, though this is a relatively specialized piece
of hardware. For an even larger number of cores, we also benchmarked the Xeon
PhiTM Knights Corner. All measurements used the Intel compiler (version 15.0.2) with
Intel MKL (version 11.2) libraries for FFTs and direct convolution.
   The 3D ConvNets contained four fully-connected convolutional (C) layers with
3 × 3 × 3 kernels, each followed by a transfer function layer (T) with rectified linear
function, and two 2 × 2 × 2 max-filtering (M) layers. Each convolutional layer The
sequence of layer types was CTMCTMCTCT. The output patch size was 12 × 12 × 12.
   The 2D ConvNets contained 6 fully-connected convolutional layers with 11 × 11
kernels, each followed by rectified linear transfer function layer (T), and two 2 × 2 max-
filtering layers (2nd and 4th). The sequence of layer types was CTMCTMCTCTCTCT.
The output patch size was 48 × 48.
   The time of one learning iteration was defined as the interval of time between two
consecutive forward pass completions. This is the most accurate estimate as there the
execution is being synchronized after the completion of a forward pass. As the speed
can be slightly lower until memory usage converges, we ignore the first 5 iterations and
average the times of the next 50 iterations. The GPU measurements were averaged
over 100 rounds.
   2D ConvNets were implemented as a special case of 3D ConvNets, by setting
one of the dimensions to have size one. The width of the ConvNets was varied as
described below. FFT convolution was employed for 2D, and direct convolution for
3D to illustrate the use of both methods; reversing this yields similar results. Other
network architectures and kernel sizes also yield similar results.
   Fig. 2-5 and Fig. 2-6 show speedups attained by various CPUs as a function of

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                   10                                                                                  20
Achieved Speedup




                                                                                    Achieved Speedup
                    8
                                                                                                       15
                    6
                                                                                                       10
                    4
                                                                                                        5
                    2

                    0                                                                                   0
                        0   50   100                      150       200     250                             0    50       100       150   200   250
                             Number of threads                                                                        Number of threads
                                   (a)                                                                                        (b)



                   40                                                                                  50
Achieved Speedup




                                                                                    Achieved Speedup
                                                                                                       40
                   30
                                                                                                       30
                   20
                                                                                                       20
                   10
                                                                                                       10

                    0                                                                                   0
                        0   50   100                      150       200     250                             0    50       100       150   200   250
                             Number of threads                                                                        Number of threads
                                   (c)                                                                                        (d)


                                                          100
                                       Achieved Speedup




                                                           80

                                                           60

                                                           40

                                                           20

                                                            0
                                                                0     50      100                  150          200     250
                                                                          Number of threads
                                                                                  (e)

Figure 2-5: Speedup versus number of threads for 2D networks achieved on machines
in Table 2.5 (left-to-right columns). In each graph, the lines are for network widths
5, 10, 15, 20, 25, 30, 40, 50, 60, 80, 100, 120, from bottom to top.



                                                                                  53
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                   10
Achieved Speedup




                                                                                    Achieved Speedup
                    8
                                                                                                       15

                    6
                                                                                                       10
                    4

                                                                                                        5
                    2

                    0                                                                                   0
                        0   50   100                      150       200     250                             0    50       100       150   200   250
                             Number of threads                                                                        Number of threads
                                   (a)                                                                                        (b)


                                                                                                       60
                   40
Achieved Speedup




                                                                                    Achieved Speedup   50
                   30
                                                                                                       40

                   20                                                                                  30

                                                                                                       20
                   10
                                                                                                       10

                    0                                                                                   0
                        0   50   100                      150       200     250                             0    50       100       150   200   250
                             Number of threads                                                                        Number of threads
                                   (c)                                                                                        (d)


                                                          100
                                       Achieved Speedup




                                                           80

                                                           60

                                                           40

                                                           20

                                                            0
                                                                0     50      100                  150          200     250
                                                                          Number of threads
                                                                                  (e)

Figure 2-6: Speedup versus number of threads for 3D networks achieved on machines
in Table 2.5 (left-to-right columns). In each graph, the lines are for network widths
5, 10, 15, 20, 25, 30, 40, 50, 60, 80, 100, 120, from bottom to top.



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                          100
                           90
                           80                          8 Core Intel Xeon E5-2666
                                                       18 Core Intel Xeon E5-2666
       Achieved speedup

                           70                          40 Core Intel Xeon i7-5820K
                                                       72 Core Intel Xeon E7-8890v3
                           60                          Intel Xeon Phi 5110P
                           50
                           40
                           30
                           20
                           10
                            0
                                0   20   40        60          80        100          120
                                              Network width

 Figure 2-7: Achieved speedups on 2D networks compared to the serial algorithm.


two parameters, number of worker threads and network width. Each graph shows
the result of varying the number of workers while network width is held fixed. To
achieve near maximal possible speedup ZNN requires sufficiently wide networks (≥ 30
for multicore CPUs and ≥ 80 for the manycore CPU) and sufficiently many worker
threads (number of hyperthreads for multicore and number of hardware threads for
manycore) 5 . The value of the maximal speedup is equal to the number of cores or a
bit larger (maximal height of graphs).
      The performances on the 72 core machine yield an approximate speedup of 55×.
This is not due to the low efficiency of ZNN, but rather of the fact that the machine
had the turbo boost mode enabled. Mainly, when only one core was running, it
was running at the frequency of 3.3𝐺𝐻𝑧, whereas when all cores were running, the
frequency was 2.5𝐺ℎ𝑧. When adjusted for the change in frequency due to the turbo
boost, the ZNN’s speedup is 55 · 3.3/2.5 ≈ 72. Unfortunately we didn’t have an
opportunity to disable the turbo boost mode.

  5
   Xeon PhiTM has hardware threads which differ from virtual thread technology of the desktop
XeonTM processors.


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                         100
                          90
                                                      8 Core Intel Xeon E5-2666
                          80                          18 Core Intel Xeon E5-2666
                                                      40 Core Intel Xeon i7-5820K
      Achieved speedup

                          70                          72 Core Intel Xeon E7-8890v3
                                                      Intel Xeon Phi 5110P
                          60
                          50
                          40
                          30
                          20
                          10
                           0
                               0   20   40        60          80        100          120
                                             Network width

 Figure 2-8: Achieved speedups on 3D networks compared to the serial algorithm.


   For a wide network on multicore CPUs, speedup increases linearly until the number
of worker threads equals the number of cores. After that the increase continues at
a slower rate. For wide networks on Xeon PhiTM , speedup increases linearly until
the number of worker threads equals the number of cores, then more slowly until
double that number, and then even slower until the number of hardware threads. The
maximal achieved speedups for networks of different widths are shown in Figs. 2-7
and 2-8.



2.9                      CPU vs. GPU
While the preceding results show that ZNN can efficiently utilize CPUs, it is also
important to know how the resulting performance compares to GPU implementations
of ConvNet learning. Therefore, we benchmarked ZNN against Caffe [30] and Theano
[32], two popular GPU implementations. Comparison can be tricky because CPU and
GPU implementations by definition cannot be run on the same hardware.
   We chose to run Caffe and Theano on a Titan X GPU (CUDA 7.0 and cuDNN v3),

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         0.4
                 ZNN    Caffe    Caffe (cuDNN)       Theano
         0.2

          0
                  1x1    2x2     4x4      8x8        16x16    32x32   64x64




                                                                                    Seconds / Update
                                       Output Size                            0.5

                                                                              0
                  1x1    2x2     4x4      8x8        16x16    32x32   64x64
          2
                                       Output Size
          1
          0
                  1x1    2x2     4x4      8x8        16x16    32x32   64x64   5
                                       Output Size

                                                                              0
                  1x1    2x2     4x4      8x8        16x16    32x32   64x64
                                       Output Size


Figure 2-9: Comparison of ZNN, Caffe (with and without cuDNN) and Theano for
2D ConvNets. The charts from the top down have kernel sizes of 102 , 202 , 302 and
402 respectively. Where Caffe data is missing, it means that Caffe could not handle
networks of the given size.


and ZNN on an 18 core Amazon EC2 instance (c4.8xlarge). We chose this particular
comparison, because the alternatives seemed unfair. For example, we could have run
ZNN on specialized hardware with more CPU cores than the EC2 instance. This
comparison seemed unfair because the specialized hardware would have been much
more costly than Titan X and less accessible than Amazon EC2. Also, we could have
used GPU instances from Amazon EC2, but these are currently much slower than
Titan X (3× or more on our benchmarks) and have half the onboard RAM.
     For Caffe, both default and cuDNN[53] implementations were used. For 3D
ConvNets we only used Theano, as the official release of Caffe still does not support
3D ConvNets. Our Caffe and Theano code is publicly available in the ZNN repository.
We
     ZNN used FFT convolution for both 2D and 3D, as this was found to be optimal
by the auto-tuning capability of ZNN. Caffe and Theano used direct convolution.
     Our ConvNets contained 6 fully-connected convolutional (C) layers, each followed
by a rectified linear transfer function layer (T), and two max-pooling (P) layers, either
2 × 2 or 2 × 2 × 2. The sequence of the layer types was CTPCTPCTCTCTCT. All

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networks had width 40, while the sizes of the kernels and the output patch varied.

   All benchmark times were for “sparse training,” meaning that the ConvNet is used
to produce predictions for pixels in the output patch that form a lattice with period 4
in every dimension. The loss of predicted output pixels is due to the two layers of
max-pooling.

   As noted before, ZNN can also perform “dense training,” meaning that the ConvNet
is used to produce predictions for every pixel in the output patch by applying the
ConvNet to a window that slides across every “valid” location in the input patch.
Requiring Caffe or Theano to perform dense training could have been accomplished
by computing 16 sparse outputs in 2D and 64 in 3D to assemble a dense output. This
method is very inefficient and would have been no contest with ZNN.




2.9.1     Speed

The comparison of 2D ConvNets is shown in Fig. 2-9. ZNN is faster than Caffe and
Theano for sufficiently large kernels (30 × 30 or larger). This makes sense because
FFT convolution (ZNN) is more efficient than direct convolution (Caffe and Theano)
for sufficiently large kernels.

   Such large kernels are not generally used in practice, so ZNN may not be competitive
with GPU implementations for 2D networks. On the other hand, ZNN opens up the
possibility of efficiently training networks with large kernels, and these might find
some practical application in the future.

   The comparison of 3D ConvNets is shown in Fig. 2-10. ZNN is comparable to
Theano even for modest kernel sizes of 5 × 5 × 5 and outperforms Theano for kernel
sizes of 7 × 7 × 7 and greater. Such kernel sizes are currently relevant for practical
applications [11]. Again the benchmark makes sense, because we expect the crossover
point for complexity of FFT vs. direct convolution to occur for smaller (linear) kernel
sizes in 3D.

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        0.2     ZNN     Theano

        0.1




                                                                                  Seconds / Update
         0
               1x1x1        2x2x2       4x4x4        6x6x6        8x8x8     0.8
                                      Output Size                           0.6
                                                                            0.4
                                                                            0.2
                                                                            0
         3     1x1x1        2x2x2       4x4x4        6x6x6        8x8x8
                                      Output Size
         2
         1
         0
               1x1x1        2x2x2       4x4x4        6x6x6        8x8x8
                                      Output Size

Figure 2-10: Comparison of ZNN and Theano for 3D ConvNets. The charts from the
top down have kernel sizes of 33 , 53 and 73 .




2.9.2     Memory



Working memory is another computational resource that is important for training
ConvNets. Given the limited amount of onboard GPU memory, we were unable to
use Theano to train 3D networks with kernel sizes larger than 7 × 7 × 7. We were also
unable to use Caffe to train many 2D networks (see missing bars in Fig. 2-9).


   ZNN enables training of larger networks mostly because a typical CPU system
has much more RAM than even a top GPU. Titan X, for example, has just 12 GB
of onboard RAM. Additionally, ZNN can achieve even higher speed by using extra
RAM space, as in the case of FFT memoization. When using FFT-based convolutions,
with the memoization disabled, ZNN is more efficient in its usage of RAM than the
proposed GPU methods. The memory overhead of the methods proposed in [34, 35]
could be very high as it is proportional to the number of kernels in a layer. In contrast
ZNN’s memory overhead is proportional to the number of workers.

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2.10      Implementation details

ZNN is implemented in C++ and is publicly available under the GPL2 license
(https://github.com/zlateski/znn-release). It can use either fftw or Intel MKL
for FFTs and either provided code or Intel MKL libraries for direct convolution. Using
fftw instead of MKL yields same scalability but lower absolute performances due to
the differences in single thread performances of the two libraries. The repository also
provides alternative scheduling strategies such as simple FIFO or LIFO as well as
some more complex ones based on work stealing [54]. The alternative scheduling
strategies achieve noticeably lower scalability than the one proposed in the paper for
most networks. However, some very specific networks might benefit from alternative
scheduling algorithms. Future work can include automatic detection of the best
scheduling strategy.




2.11      Summary and conclusions

ZNN achieves high performance by efficiently utilizing the available CPUs. We expect
an increase in the number of cores per chip (or Xeon PhiTM card) in the future, making
ZNN even more practical. In fact, we have already used ZNN to achieve state of the art
results in boundary detection [55] and computation of dendritic arbor densities [56].
   Having a large amount of RAM available to the CPU, ZNN can efficiently train
very large ConvNets with large kernels. ZNN allows for easy extensions and can
efficiently train a ConvNet with an arbitrary topology, allowing for new research.
   Unlike the ZNN’s task parallelization model, the current GPU implementations
employ SIMD parallelism to perform computation on one whole layer at a time, thus
limiting the network structure. Mainly, the computation is parallelized such that
a single thread computes the value of a single voxel of an output image. Libraries
like cuDNN provide optimized primitives for fully connected convolutional layers by
reducing all the required convolutions in the layer to a matrix multiplication, which is
then parallelized on the GPU.

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   Extending the functionality requires the user to provide a parallelized imple-
mentation of the new layer type, which typically requires great knowledge of GPU
programming, and might take a long time. Contrary to that, ZNN’s task parallelism
allows for easy extensions by simply providing serial functions for the forward and back-
ward pass, as well as the gradient computation, if required. ZNN’s repository contains
some sample extensions providing functionality of dropout [57] and multi-scale [45, 47]
networks.
   ZNN’s answer to commonly asked question “CPUs or GPUs?” is – it depends.
We have shown that ZNN can outperform modern GPU implementations for modest
size networks and relatively small kernel sizes. Often, the training speed is not the
only factor when deciding on ConvNet training package. Large ConvNets, with large
number of parameters, can produce superior results [55, 33]. In such cases CPUs
might be the only option.
   Most of the modern networks have layered structure, where all the convolutional
layers are fully connected. This comes from the limitations of the data–parallel model
of the GPU based approaches. There is, however, no evidence that this is an optimal
way to structure a ConvNet. The CPU based method proposed by ZNN lifts this
requirement and allows for efficient training of arbitrary topology ConvNets.




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Chapter 3

ZNNi – Maximizing the Inference
Throughput of 3D Convolutional
Networks on Multi-Core CPUs and
GPUs

Sliding window convolutional networks (ConvNets) have become a popular approach
to computer vision problems such as image segmentation, and object detection and
localization. Here we consider the problem of inference, the application of a previously
trained ConvNet, with emphasis on 3D images. Our goal is to maximize throughput,
defined as average number of output voxels computed per unit time. Other things being
equal, processing a larger image tends to increase throughput, because fractionally
less computation is wasted on the borders of the image. It follows that an apparently
slower algorithm may end up having higher throughput if it can process a larger
image within the constraint of the available RAM. We introduce novel CPU and
GPU primitives for convolutional and pooling layers, which are designed to minimize
memory overhead. The primitives include convolution based on highly efficient pruned
FFTs. Our theoretical analyses and empirical tests reveal a number of interesting
findings. For some ConvNet architectures, cuDNN is outperformed by our FFT-based

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GPU primitives, and these in turn can be outperformed by our CPU primitives. The
CPU manages to achieve higher throughput because of its fast access to more RAM.
A novel primitive in which the GPU accesses host RAM can significantly increase
GPU throughput. Finally, a CPU-GPU algorithm achieves the greatest throughput of
all, 10× or more than other publicly available implementations of sliding window 3D
ConvNets. All of our code has been made available as open source project.



3.1     Introduction

Waving the banner of “deep learning,” researchers have revived the use of convolutional
networks (ConvNets) for computer vision. The revival has been driven by increases in
the speed of ConvNet training made possible by GPU implementations [58, 59, 60, 61].
Here we are concerned with the problem of inference, applying a previously trained
ConvNet to a new image. Fast inference is critical for big data applications involving
large numbers of images and/or very large images. Billions of photos and millions
of videos are shared online every day [62, 63]. Scientists are also generating large
amounts of image data. For example, high-speed electron microscopy can generate a
petascale 3D image from a cubic millimeter of brain in a few weeks [64]. We will focus
on 3D ConvNets, which are relevant for both videos and 3D images. 2D ConvNets are
regarded as a special case that is less computationally costly.
   In contemporary computer vision, researchers are most familiar with applying
ConvNets to image-to-label transformations. For example, in object recognition the
input is an image of an object and the desired output is the class of the object.
However, ConvNets can also be used for image-to-image transformations. In this
context, a ConvNet acts like a more complex version of a typical filtering operation
in image processing. The ConvNet is applied to a window that slides over the input
image. For each location of the window, the ConvNet outputs a set of numbers,
effectively producing a set of output images, each with the same resolution as the
input image.
   For speeding up sliding window inference, a seemingly trivial detail about image

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                                                     Architecture



                                         GPU                             CPU
                                                      GPU +
                                                     Host RAM
        Max Pooling           Convolutional                              Convolutional           Max Pooling


     Pool
                    MPF         Direct         FFT              Direct         FFT              Pool      MPF
   (CuDNN)


   CuDNN Implicit            CuDNN Implicit                          Data             Task
      GEMM                precomputed GEMM                          Parallel         Parallel


                                                         Convolutional




Figure 3-1: Diagram of all layers primitives. The red primitives are wrappers primitives
provided by CuDNN. The green primitives are the novel primitives introduced in this
paper.


borders turns out to be a bottleneck. Inference is less efficient near the borders,
and this inefficiency is proportionally smaller for a larger input image. So efforts to
maximize throughput tend to bump into the constraint of limited RAM. (This is not
the case for ConvNet training, where there is typically some range of input sizes that
is optimal for training speed.) An apparently slower algorithm may end up having
higher throughput if it can process a larger image within the constraint of the available
RAM.

   We consider ConvNet architectures that contain both convolutional and pooling
layers. GPU implementations such as cuDNN provide a number of primitives for both
kinds of layers. A particular architecture is implemented by combining primitives. In
line with this approach, we introduce a number of new layer primitives for the CPU
and GPU (Fig. 3-1). These are designed to have low memory overhead, which should
be important for high throughput as mentioned above.

   Our new convolutional primitives are either direct or FFT-based. For the latter,
we introduce new implementations of pruned FFTs that are faster (for kernels on

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average 5× for CPU and 10× for GPU) while using less memory. Our FFT-based
convolutional primitive for the GPU is designed to use much less memory than the
algorithm proposed by [34, 35] and implemented in fbfft. We provide two new
FFT-based convolutional primitives for the CPU. The task parallel version is more
efficient if the number of input images and the number of output images are both large,
but at the cost of more memory overhead than the data parallel version. The task
parallel algorithm is designed to use less memory than the one previously proposed
for ConvNet training 2. To evaluate our novel primitives, we include comparisons
with the direct convolutional primitives in cuDNN. We also provide a new direct
convolutional primitive for the CPU, but this turns out to be less useful than our
FFT-based primitives in most circumstances.
   In empirical tests, we combine the primitives to maximize throughput for CPU-only
and GPU-only algorithms. In some cases, our FFT-based GPU primitives outperform
the cuDNN primitives by a large margin. The CPU-only algorithm may achieve higher
throughput than the GPU-only algorithm because the CPU has fast access to more
RAM, even if it is capable of fewer floating point operations (FLOPs) per second.
   To work around the limited onboard RAM of the GPU, we introduce a novel GPU
+ host RAM primitive. We show that using this new primitive can lead to much
higher throughput, in spite of the slower communication speed between GPU and host
RAM.
   Finally, we study a CPU-GPU algorithm, in which the first layers of the ConvNet
are computed by the CPU and the later layers are computed by the GPU. The
algorithm is pipelined to utilize the CPU and GPU efficiently. This yields the highest
throughput of all the algorithms, sometimes even greater than the sum of throughputs
of GPU + host RAM and CPU-only.
   We also compare with other 3D sliding window max-pooling ConvNet implementa-
tions. To the best of our knowledge, the only publicly available ones are the Caffe
implementation of [65], ZNN [Chap. 2], and ELEKTRONN [66]. (The last is the
only competitor that is specifically optimized for inference.) For comparison, we also
include a baseline implementation that utilizes the simple pooling primitives of cuDNN

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to perform the naive algorithm of computing all subsamplings of the output. For
four representative ConvNet architectures running on a Titan X and/or a 4-way Intel
Xeon E7 8890v3 machine with 256 GB RAM, our CPU-only, GPU-only, GPU + host
RAM, and CPU-GPU implementations outperform all competitors. In particular, our
CPU-GPU implementation wins by a factor of roughly 10× or more in all cases.
   We focus on throughput (number of output voxels per unit time) as the performance
metric. A related metric is energy consumed per voxel. For a given CPU or GPU,
maximizing throughput is equivalent to minimizing energy consumption, assuming
that the power consumption is roughly constant in time. An interesting implication
of our work is that in some situations the most economical way of increasing inference
throughput may be to increase host RAM rather adding more GPUs or CPUs.



3.2      Throughput of sliding window inference

Sliding window ConvNets were originally applied to detect and/or localize objects in
a larger image [67], and this usage has been revived [38]. Here each output image
represents the probability that an object of a certain class is located at a voxel. Sliding
window ConvNets have also been applied to image segmentation, to produce an output
image representing the probability that a voxel is a boundary between objects or
not [68]. And they have been applied to semantic segmentation, the problem of
labeling each voxel in an input image by the class of the object to which it belongs [69].
In general, sliding window ConvNets are increasing in popularity as they are applied to
more and more problems in computer vision. However, transforming image-to-image
is even more computationally costly than image-to-label, so the need for speeding up
sliding window ConvNets is especially acute.
   In large scale sliding window inference, the input image is divided into smaller
input patches. These are transformed by the ConvNet into output patches, which
are recombined to generate the output image. This divide-and-conquer approach is
motivated by both time and space considerations. The computation can be sped up by
assigning the patches to multiple workers. Also if the computation were not divided,

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it might not fit in the RAM available to a single worker.
   Each output patch is smaller than the input patch, because the sliding window
is restricted to be entirely contained within the input image. (This is analogous
to a “valid” convolution in MATLAB.) Therefore the input patches are chosen to
overlap so that the output patches exactly cover the output image without overlap.
(This is analogous to the overlap-save or overlap-scrap method for computing a single
convolution described in signal processing textbooks.)
   We define the throughput of a single worker as the number of voxels in the output
patch divided by the time required for the worker to process a single patch. In this
paper, a worker will be a single shared-memory machine, either CPU or GPU or
combination of the two. Our goal is to maximize worker throughput.
   When computing ConvNet outputs for nearby locations of the sliding window,
some of the arithmetic operations are identical. For efficiency it is important to reuse
the results of these operations. For ConvNets with convolutional layers only, this
happens naturally as the output patch is the same resolution as the input patch.
If there are pooling layers, however, the output patch produced by a ConvNet is a
subsampling of the output of a sliding window ConvNet. To obtain the entire output
image, one must compute all subsamplings with different offsets separately, and then
combine them. This algorithm does not efficiently reuse computations for nearby
output voxels.
   Here we instead provide pooling primitives that compute max-pooling fragments
(MPF), a more efficient strategy for sliding window computations [37, 36]. ELEK-
TRONN is the only other publicly available package with MPF support known to
us (http://elektronn.org). The MPF algorithm computes the same results as the
approach known as “dilated convolution”[70], “strided kernels”[65], “max filtering”2,
or “filter rarefaction”[45].
   While MPF does efficiently reuse computation within a patch, the division into
patches does itself incur a cost. Reuse cannot happen for nearby locations in different
output patches, assuming the computations on the patches are done independently.
For example, it is highly inefficient to make the input patch the same size as the

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sliding window, which results in no reuse at all across different locations of the sliding
window. It is more efficient to increase the size of the input patch, to reduce the
fraction of voxels near the border and thereby reduce inefficiency due to lack of reuse.
   Consequently memory overhead becomes important, if the goal is to maximize
throughput. An apparently faster algorithm may end up with inferior throughput
if it cannot process a large input patch using the available RAM. Later on, we will
introduce a set of novel primitives for computing the layers of a ConvNet, which
are designed to have low memory overhead as well as to be fast. The primitives
include convolutional and max-pooling layers. (Our approach also can be extended to
other kinds of pooling layers.) As a prelude to the layer primitives, we first introduce
lower-level FFT primitives which turn out to be important for efficient convolution.



3.3      Pruned FFT

Improving the efficiency of convolution is crucial, because this computation is performed
so many times in a ConvNet. The advantages of FFT convolution have been shown for
2D ConvNets running on GPUs [34, 35], and 3D ConvNets running on CPUs [Chap. 2].
   In FFT convolution the kernel and the image are zero-padded to a common size.
Since the kernel is typically much smaller than the image, the padded kernel consists
mostly of zeros. Ignoring the zeros is known as FFT pruning, and can provide speedup.
We propose and implement such an algorithm, for both the CPU and GPU. Our
approach achieves an average of 5× speedup over the naive approach on the CPU and
10× speedup on the GPU.
   The speedup is expected to be large for a ConvNet, which typically contains
many more kernel FFTs than image FFTs. The speedup is more modest for a single
convolution, which requires one padded kernel FFT, one image FFT, and one inverse
FFT.
   While our pruned FFT algorithms give a substantial speedup, understanding them
is not necessary for understanding the rest of our contributions. The reader may prefer
to skip to the next section on how pruned FFTs are used to compute the convolutional

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Figure 3-2: Pruned FFTs. The dark blue voxels show the locations of the nonzero
elements of the image after zero-padding.


layers.



3.3.1       General algorithm

For 3D FFT-based convolution, the 3D images 𝑥 and 𝑦 are first zero-padded to the
same size. The inverse FFT of the point-wise product contains the result of the
convolution. The images 𝑥 and 𝑦 can be zero-padded to any size, as long as their size
is equal.
   A 3D FFT is obtained by computing 1D FFTs along the three dimensions. Some
of these 1D FFTs are of an array with all elements equal to 0. These are unnecessary
to compute as the FFT of an all zeros signal is all zeros.
   We can reduce the amount of computation by computing only necessary 1D
transforms. When computing the FFT of a trainable kernel of size 𝑘 3 zero padded to
size of 𝑛3 , instead of naively computing 𝑛2 1D FFTs along each dimension, which takes
𝐶𝑛3 log 𝑛3 we could first only do 𝑘 2 FFTs along one dimension, then 𝑘 × 𝑥 along then
next, and finally 𝑛2 along the last dimension, as shown on Fig. 3-2. This approach

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reduces the computational cost from 𝐶𝑛3 log 𝑛3 to 𝐶𝑛 log 𝑛[𝑘 2 + 𝑘 · 𝑛 + 𝑛2 ]. As most
of the FFTs are performed on kernels, and as the kernel sizes are usually much smaller
compared to the image sizes (𝑘 ≪ 𝑛), we could reduce the computation cost by nearly
two thirds.


3.3.2        CPU implementation

Suppose we would like to compute the FFT of an 𝑥 × 𝑦 × 𝑧 image zero-padded to an
𝑥′ × 𝑦 ′ × 𝑧 ′ image.
       The 𝑥 × 𝑦 × 𝑧 image is zero-padded to 𝑥′ × 𝑦 × 𝑧. This is easily implemented by
doing a linear copy of the memory, and zero-padding the rest. We then perform 𝑦 · 𝑧
1D real to complex FFT transforms along the 𝑥 direction. The FFTs are performed
                                                                             ′
out of place into a pre-allocated, and zero-initialized complex-valued ⌊ 𝑥2 ⌋ + 1 × 𝑦 ′ × 𝑧 ′
image. We then perform in-place 1D transforms along the 𝑦 direction, followed by the
𝑧 direction.
       The inverse FFT is computed by following the above steps in reverse order. The
1D FFTs can either be done serially, or by 𝑁 workers in parallel (in a parallel for
loop).
       This method induces a memory overhead of 𝑥′ × 𝑦 × 𝑧, a space required for
zero–padding the image along 𝑥 direction in the first step of the algorithm.


3.3.3        GPU implementation

On the GPU, we always perform FFTs on 𝑏 3D images simultaneously, in order to
achieve high utilization of the many GPU threads.
       A set of 𝑏 3D images can be represented as a 4D tensor. We need to perform
1D FFTs along the three least significant dimensions. Our algorithm computes the
                                               1
3D FFTs as a series of tensor transforms           and 1D FFTs along the least significant
dimension of the tensor.
       When computing the FFT transforms of 𝑏 3D images each of size 𝑥 × 𝑦 × 𝑧 padded
   1
       This is known as a permute function in MATLAB


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to 𝑥′ × 𝑦 ′ × 𝑧 ′ , the size of the 4D input tensor 𝐼 is 𝑏 × 𝑥 × 𝑦 × 𝑧. First, 1D in–place
real to complex 1D transforms along the 𝑧 direction are performed. We prepare the
input by extending the 4D tensor along the 𝑧 direction to fit the result. The transform
will need to contain 𝑧 ′′ = 𝑧 ′ /2 + 1 complex numbers, and we need twice as many reals.
A 4D tensor 𝐼 1 of size 𝑏 × 𝑥 × 𝑦 × 2𝑧 ′′ ) is first initialized to zero, and appropriate
                                                                        1
elements from the input are filled in (elements 𝐼𝑖,𝑗,𝑘,𝑙 get mapped to 𝐼𝑖,𝑗,𝑘,𝑙 while the
rest of elements of 𝐼 1 are set to zero).
    A batch of 𝑏 in–place real to complex 1D transforms are then performed. The
result represents a 4D complex tensor 𝐼̃︀1 of size 𝑏 × 𝑥 × 𝑦 × 𝑧 ′′ . Note that all the
1D transforms are done on contiguous memory chunks (along the least significant
dimension).
    In the next step we perform in-place complex to complex transforms along the 𝑦
direction. To do this the elements of 𝐼̃︀1 are permuted into another 4D tensor 𝐼̃︀2 of
size 𝑏 × 𝑥 × 𝑧 ′′ × 𝑦 ′ , such that the element 𝐼̃︀𝑖,𝑗,𝑘,𝑙
                                                   1                         2
                                                           gets mapped to 𝐼̃︀𝑖,𝑗,𝑙,𝑘 and the rest of
𝐼̃︀2 is zero–filled. We then perform in-place complex to complex transforms along the
least significant dimension of 𝐼̃︀2 .
    In the final step, we perform the transform along the 𝑥 direction. We permute
𝐼̃︀2 into a new 4D complex tensor 𝐼̃︀3 of size 𝑏 × 𝑧 ′′ × 𝑦 ′ × 𝑥′ . An element 𝐼̃︀𝑖,𝑗,𝑘,𝑙
                                                                                   2
                                                                                           is
             3
mapped to 𝐼̃︀𝑖,𝑘,𝑙,𝑗 . Complex to complex in-place transforms are performed along the
least significant dimension of 𝐼̃︀3 .
    As we only perform point-wise multiplications of transformed images, or take the
inverse transforms of them, we can just keep the result in this representation – not
waste computation doing extra permuting.
    The inverse transform can be performed taking the same steps in reverse order.


3.3.4      Implementation details

Our approach uses 3rd party libraries to perform each batch of 1D FFTs. Depending
on the library implementation, the size to which we pad the 3D image can greatly
influence the computational complexity.
    On the CPU we use either fftw or Intel MKL, and pad the images (and kernels)

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to sizes that can be written in the form of 2𝑎 3𝑏 5𝑐 7𝑑 11𝑒 13𝑓 . When Intel MKL is used
any such size is allowed, however, when fftw is used we only allow sizes for which
𝑒 + 𝑓 is either 0 or 1 [71, 72]. On the GPU we use cuFFT [73], which has optimized
algorithms only for sizes of the form 2𝑎 3𝑏 5𝑐 7𝑑 .

   4D tensor permuting requires a lot of indexing calculation, which can involve
a lot expensive division and modulus operations. Sometimes these operations are
more expensive than the actual 1D FFT transforms performed. We improve the
performances by only using multiplications by a pre–computed magic numbers and
shift operations as described in [74]. Image reshaping is easily implemented using the
Thrust CUDA library [75].

   We limit the large cuFFT memory overhead for computing batches of 1D transforms
by splitting the batch computation into sub–batches of 1D transforms. We make sure
that the sub–batch size is still large enough to utilize all the computational power,
but limit the size so that we limit the memory overhead.

   The memory overhead of the algorithm is due to the fact that we do out-of-place
permuting of the 4D tensor, and requires space for 𝑏 · 𝑥 · 𝑦 ′ · 𝑧 ′′ complex numbers. This,
however, will not increase the memory overhead of our algorithm for convolutional
layers on the GPU, as it already needs a temporary tensor of size 𝑏 · 𝑥′ · 𝑦 ′ · 𝑧 ′′ for other
purposes, which we can use as the scratch space for computing the FFT transforms.

   Additional, relatively small, overhead comes from the memory required by cuFFT
to perform a batch of 1D transforms. By dividing the batch into sub–batches we
essentially limit this overhead to a pre–defined constant amount of memory.




3.4      Convolutional layers

We begin with the primitives for the convolutional layers, which are the most compu-
tationally intensive.

   The input to a convolutional layer is a tuple of 𝑓 images, and the output a tuple of

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 Layer                            Input shape         Output shape
 Convolutional – Direct           𝑆×𝑓    × 𝑛3         𝑆 × 𝑓 ′ × [𝑛 − 𝑘]3
 Convolutional – FFT–based        𝑆×𝑓    × 𝑛3         𝑆 × 𝑓 ′ × [𝑛 − 𝑘]3
 Max Pooling                      𝑆×𝑓    × 𝑛3         𝑆 × 𝑓 × [𝑛/𝑝]3
 Max Fragment Pooling             𝑆×𝑓    × 𝑛3         [𝑆 · 𝑝3 ] × 𝑓 × (𝑛/𝑝)3
 Layer                            FLOPS
 Convolutional – Direct           𝑆 · 𝑓 ′ · 𝑓 · 𝑛3 · 𝑘 3
 Convolutional – FFT–based        𝑆 · 3𝐶𝑛3 log 𝑛[𝑓 ′ + 𝑓 ] + 4𝑆𝑓 ′ 𝑓 𝑛3 + 𝑓 𝑓 ′ 𝐶𝑛 log 𝑛[𝑘 2 + 𝑘𝑛 + 𝑛2 ]
 Max Pooling                      𝑆 · 𝑓 · 𝑛3
 Max Fragment Pooling             𝑆 · 𝑓 · 𝑛3 · 𝑝 3

Table 3.1: Relation between input and output shapes for convolutional and pooling
layers, along with computational complexities. Input shape is for a batch of 𝑆 inputs,
each of which is an 𝑓 -tuple of 3D images with size 𝑛3 , and output shape is analogous.
The 3D kernel has size 𝑘 3 . The pooling window has size 𝑝3 , and the constant 𝐶 for
the FFT complexity depends on the FFT implementation.




𝑓 ′ images. We want to process a batch of 𝑆 inputs to yield a batch of 𝑆 outputs, via

                                              𝑓
                                             ∑︁
                                    𝑂𝑠,𝑗 =         𝑤𝑗𝑖 * 𝐼𝑠,𝑖
                                             𝑖=1


for 1 ≤ 𝑠 ≤ 𝑆 and 1 ≤ 𝑗 ≤ 𝑓 ′ . Here 𝐼𝑠,𝑖 is the 𝑖𝑡ℎ image of the 𝑠𝑡ℎ input in the batch,
and 𝑂𝑠,𝑗 is the 𝑗 𝑡ℎ image of the 𝑠𝑡ℎ output in the batch, and 𝑤𝑗𝑖 is the kernel from the
𝑖𝑡ℎ image in an input tuple to the 𝑗 𝑡ℎ image in an output tuple.


    We will assume 3D images and kernels. If 𝐼𝑠,𝑖 has size ⃗𝑛 = ⟨𝑛𝑥 , 𝑛𝑦 , 𝑛𝑧 ⟩ and 𝑤𝑗𝑖 has
size ⃗𝑘 = ⟨𝑘𝑥 , 𝑘𝑦 , 𝑘𝑧 ⟩, then we can regard 𝐼 as a 5D tensor of size 𝑆×𝑓 ×𝑛𝑥 ×𝑛𝑦 ×𝑛𝑧 , 𝑤 as
a 5D tensor of size 𝑓 ′ ×𝑓 ×𝑘𝑥 ×𝑘𝑦 ×𝑘𝑧 , and 𝑂 as a 5D tensor of size 𝑆 ×𝑓 ′ ×𝑛′𝑥 ×𝑛′𝑦 ×𝑛′𝑧 ,
where ⃗𝑛′ = ⃗𝑛 − ⃗𝑘 + ⃗1.


    We will refer to the sizes of the 5D tensors 𝐼 and 𝑂 as input and output shape,
respectively. The relationship between input shape and output shape depends on
kernel size as in Table 3.1.

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3.4.1    CPU algorithms

We propose three parallel algorithms for the convolutional layer that are suited for
multi-core CPUs. The first algorithm performs direct convolution, whereas the other
two use FFT based convolutions.


Direct convolution algorithm


Algorithm 5 Multi-core algorithm for a convolutional layer using direct convolution.

Convolutional-Forward-FFT-CPU1(𝐼, 𝑤, 𝑆, 𝑓, 𝑓 ′ , ⃗𝑛, ⃗𝑘)
1 ⃗𝑛′ = ⃗𝑛 − ⃗𝑘 + ⃗1
2 𝑂 = 5D-Real-Tensor(𝑆, 𝑓 ′ , 𝑛′𝑥 , 𝑛′𝑦 , 𝑛′𝑧 )
3 parallel for 𝑖 = 0 to 𝑆 − 1
4       parallel for 𝑗 = 0 to 𝑓 ′ − 1
5              for 𝑘 = 0 to 𝑓 − 1
6                    𝑂𝑖,𝑗 = 𝑂𝑖,𝑗 + Convolve(𝐼𝑖,𝑘 , 𝑤𝑗,𝑘 )
7 Free-Memory(𝐼)
8 return 𝑂



   The computation is parallelized by two parallel for loops such that each image
of each output in the batch is computed in parallel on a different working thread (see
Algorithm 5). The parallel for loops are implemented using Intel thread building
blocks such that the work is evenly divided over the available cores.
   We provide one implementation using naive convolution and the other using Intel
MKL. The latter is 2× faster on average, but requires extra memory for a temporary
image where a result of convolution is stored before accumulating it to the output
image. The memory overhead of both implementations is given in Table 3.2.


Data parallel FFT-based algorithm

The computationally intensive operations are individually parallelized (see Algo-
rithm 6). More specifically each FFT and inverse FFT transform is done in parallel as
explained in the previous section. The Parallel-MAD function computes a series

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             CPU algorithm        Memory required
             Direct (naive)       𝑆 · 𝑓 · 𝑛 + 𝑆 · 𝑓 ′ · 𝑛′
             Direct (MKL)         𝑆 · 𝑓⎧· 𝑛 + 𝑆 · 𝑓 ′ · 𝑛′ + 𝑇 · 𝑛′
                                       ⎨𝑆 · 𝑓 · (𝑛 + 𝑛) ̃︀
             FFT algorithm 1      max
                                       ⎩𝑆 · 𝑓 ′ · 𝑛′ + (𝑆 · 𝑓 + 1) · 𝑛
                                                                     ̃︀
                                        ⎧
                                        ⎪
                                        ⎪· 𝑓 · (𝑛 + 𝑛)
                                        ⎨𝑆
                                                      ̃︀
             FFT algorithm 2                        ′
                                  max ⎪𝑆 · (𝑓 + 𝑓 ) · 𝑛   ̃︀ + 𝑇 · 𝑛
                                                                   ̃︀
                                            ′     ′
                                      ⎪
                                      ⎩
                                       𝑆 · 𝑓 · (𝑛 + 𝑛)   ̃︀

             GPU algorithm        Memory required
             cuDNN (default)      𝑆 · 𝑓 · 𝑛 + 𝑆 · 𝑓 ′ · 𝑛′
             cuDNN (precomp)      2𝑆 · 𝑓 · 𝑛 + 𝑆 · 𝑓 ′ · 𝑛′
                                             ⎧
                                             ⎨𝑆 · 𝑓 · (𝑛 + 𝑛) + 𝑓 · 𝑛
                                             ⎪
                                             ⎪                ̃︀           ̃︀
             FFT                  𝐾 + max ⎪𝑆 · (𝑓 + 𝑓 ′ ) · 𝑛     ̃︀ + 2𝑓 · 𝑛 ̃︀
                                                      ′     ′            ′
                                             ⎪
                                             ⎩
                                               𝑆 · 𝑓 · (𝑛 + 𝑛)   ̃︀ + 𝑓 · 𝑛   ̃︀

Table 3.2: Memory required by different implementations. 𝑆 is the batch size, 𝑓 and
𝑓 ′ represent the number of input/output images of the layer. 𝑛 and 𝑛′ represent the
number of pixels in each input/output image, and 𝑛
                                                 ̃︀ represents the number of elements
in the transformed image. 𝐾 is pre–defined constant amount of memory allocated for
cuFFT, and 𝑇 is the number of available cores for the CPU algorithms.




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of multiply-add operations of complex numbers in parallel by dividing the range into
roughly equal sub-ranges, each of which is executed on a single core.

Algorithm 6 Multi-core algorithm for a convolutional layer

Convolutional-Forward-FFT-CPU1(𝐼, 𝑤, 𝑆, 𝑓, 𝑓 ′ , ⃗𝑛, ⃗𝑘)
 1 ⃗𝑛′ = ⃗𝑛 − ⃗𝑘 + ⃗1
 2 ⃗𝑛
    ̃︀ = FFT-Optimal-Size(⃗
                          𝑛)
 3    𝐼̃︀ = 5D-Complex-Tensor(𝑆, 𝑓, ⌊𝑛       ̃︀ 𝑥 /2⌋ + 1, 𝑛      ̃︀ 𝑦 , 𝑛̃︀ 𝑧 )
 4    for 𝑖 = 0 to 𝑆 − 1
 5          for 𝑗 = 0 to 𝑓 − 1
 6               𝐼̃︀𝑖,𝑗 = Parallel-FFT(𝐼𝑖,𝑗 )
 7    Free-Memory(𝐼)
 8    𝑂 = 5D-Real-Tensor(𝑆, 𝑓 ′ , 𝑛′𝑥 , 𝑛′𝑦 , 𝑛′𝑧 )
 9    𝑂̃︀ = 4D-Complex-Tensor(𝑆, ⌊𝑛       ̃︀ 𝑥 /2⌋ + 1, 𝑛     ̃︀ 𝑦 , 𝑛̃︀ 𝑧 )
10    𝑤̃︀ = 3D-Complex-Tensor(⌊𝑛     ̃︀ 𝑥 /2⌋ + 1, 𝑛           ̃︀ 𝑧 )
                                                        ̃︀ 𝑦 , 𝑛
                         ′
11    for 𝑖 = 0 to 𝑓 − 1
12          for 𝑗 = 0 to 𝑓 − 1
13               𝑤̃︀ = Parallel-FFT(𝑤𝑖,𝑗 )
14               for 𝑘 = 0 to 𝑆 − 1
15                       Parallel-MAD(𝐼̃︀𝑘,𝑗 , 𝑤,     ̃︀ )
                                                   ̃︀ 𝑂  𝑘
16          for 𝑘 = 0 to 𝑆 − 1
17               𝑂𝑘,𝑖 = Parallel-Inverse-FFT(𝑂                 ̃︀ )
                                                                   𝑘
18    Free-Memory(𝐼)       ̃︀
19    Free-Memory(𝑂)       ̃︀
20    Free-Memory(𝑤)       ̃︀
21    return 𝑂



     The memory requirement of the algorithm equals to the maximal amount of
memory required by the algorithm at any single point of time during the execution,
and is given in Table 3.2.


Task parallel FFT-based algorithm

The main quantities of the task parallel algorithm are: (1) breaking up the computation
required by the convolutional layer into tasks that operate on independent chunks
of memory, (2) creating a task dependency graph, and (3) scheduling the tasks for
execution.

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    Figure 3-3: Task dependency diagram of a task–based convolutional layer.


   There are five different task types:

   ∙ Input image transform task computes the forward FFT transform of a single
     input image.

   ∙ Kernel transform task computes the forward FFT transform of a single kernel.

   ∙ Multiply-add task computes the point-wise product of an input image and a
     kernel FFT accumulating the result to an appropriate image transform.

   ∙ Output image transform task computes the inverse FFT of the appropriate
     accumulated image transform. This task is also responsible for adding the bias
     and applying the transfer function.

   ∙ Synchronization tasks, beside serving as synchronization points are the only
     tasks responsible (and only ones allowed) to allocate and/or deallocate memory.

   The task dependency graph of all the tasks required for computing the output
images of a convolutional layer with four input and five output images for a batch

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size of four is shown on Fig. 3-3. The tasks are created and queued when all their
dependencies have been satisfied. There are four synchronization tasks effectively
dividing the computation into three stages. The layout of the kernel transform
tasks forms a grid, with the number of columns equal to the number of output images,
and the number of rows equal to the number of input images. The task of the 𝑖𝑡ℎ
column and 𝑗 𝑡ℎ row computes the transform of the kernel 𝑤𝑖,𝑗 . Furthermore, each
such task has 𝑆 dependent multiply-add tasks, where 𝑆 is the batch size of the
input (equal to four in Fig. 3-3). The 𝑘 𝑡ℎ dependent multiply-add task of a kernel
transform task in column 𝑖 and row 𝑗 accumulates the product of the transforms
of the 𝑗 𝑡ℎ input image of the 𝑘 𝑡ℎ batch and the filter 𝑤𝑖,𝑗 to the transform of the 𝑖𝑡ℎ
output image of the 𝑘 𝑡ℎ batch.

   The tasks are executed by 𝑁 worker threads, where 𝑁 equals the number of
available cores (or virtual cores, when hyper–threading is enabled). Each worker
thread is pinned to a single core. This means that there is 1–1 relation between the
workers and the available cores – each worker is allowed to run only on a specific
hardware core, as described in [76]. For this reason, we will use “worker thread” and
“core” interchangeably.

   The first synchronization task allocates memory for the FFT transforms of the
input images. The number of dependent input image transform tasks equals the
number of input images times the batch size 𝑆. They are then executed by the 𝑁
worker threads, such that each worker picks up an arbitrary task and executes it.

   The last thread to complete the execution of an input image transform task
immediately executes the second synchronization task. This tasks deallocates the
memory holding the input images, as their values are no longer required. It then
allocates memory for the transforms of the output images. At this point 𝑀 threads
are chosen as primary threads, where 𝑀 is the maximum of 𝑁 – total number of
threads, and the number of output images. The primary threads are chosen so that
they are evenly distributed over multiple physical chips. Each primary thread is given
a temporary buffer equal to the size required to fit the transform of a padded kernel
for that layer.

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       The kernel transform tasks and multiply-add tasks are then scheduled for
execution based on their distance to the sink node of the task dependency graph, such
that the more distant nodes get scheduled first. The scheduling has two additional
constraints: (1) the kernel transform tasks can only be executed by a primary
thread, and (2) its dependent multiply-add tasks can only be executed by worker
threads that are pinned to the cores on the same physical chip.
       This strategy is chosen over the popular alternative approach to task scheduling
based on work stealing [77, 78] because it divides the work more evenly over multi–chip
machines and further increase cache locality. On a 4-way machine it yields more
deterministic results – very little variance in run-time and average of 20% speed
improvement over the alternative.
       The last multiply-add task to complete executes the third synchronization
task. This task deallocates the memory buffers given to the primary threads as well
as the memory used to store the transforms of the input images. It also allocates the
memory to store the final result – the output images.
       The number of output image transform tasks equals the number of output
images times the batch size. The tasks are executed by all 𝑁 workers, such that
each worker picks up an arbitrary task and executes it. The last output image
transform task to finish also executes the final synchronization task, which frees
the memory required for the output image transforms.
       The task parallel algorithm requires that both 𝑓 · 𝑆 and 𝑓 ′ · 𝑆 be large enough
(at least the same size as the number of available cores) in order to efficiently utilize
all the cores. In such cases they can be much more efficient than the data parallel
algorithm, as the tasks operate on independent data (thus reducing false–sharing 2 ).
It further improves the performances on multi–chip systems, by minimizing the data
sharing between cores on different chips. On a 4–way Intel Xeon E7–8890 v3 machine
the task parallel algorithm is 10× faster than the data parallel one (for large enough
𝑓 ′ · 𝑆 and 𝑓 · 𝑆).
       As shown later, this is the implementation that is optimal in most cases, even for
   2
       A case where one CPU’s cache is invalidated because multiple CPUs operate on adjacent memory


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very small kernel sizes; the only exception is the first layer of the network for which
both 𝑓 = 1 and 𝑆 = 1.
   The memory required by the task parallel algorithm can be higher then the one
of the data parallel algorithm, when many cores are available. The exact memory
required equals to the maximal memory required by each of the 3 stages, and is given
in Table 3.2.


3.4.2     GPU implementations

For the GPU, we propose three different algorithms. Two of them use cuDNN’s
3D primitives that are based on implicit matrix–matrix multiplication. The third
FFT–based implementation is based on our, previously described, algorithm for pruned
FFTs.


Direct convolution using cuDNN

The two algorithms using the direct convolution are implemented using cuDNN.
CuDNN performs 3D convolution as an implicit matrix–matrix multiplication, meaning
that the matrices are not actually created. The first algorithm improves the speed by
pre–computing a set of indices, and thus require additional workspace memory. The
second algorithm, which we find 3-5× slower does not require any extra memory.


FFT based algorithm

FFT-based convolutional layer is based on the GPU implementation of the pruned
FFT algorithm described in Section 3.3.3.
   The algorithm, given in Algorithm 7 resembles the task based CPU algorithm in
the sense that it consists of three stages with memory allocated/deallocated between
the stages. The lines 2 and 3 allocate memory required for the input image transforms
and the scratch space required by GPU-Parallel-FFT procedure (explained in
Section 3.3.3). The first stage (lines 4 and 5) computes the transforms of all the input
images by performing 𝑓 3D FFTs in parallel. The memory used by the input images

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Algorithm 7 FFT based convolutional layer algorithm for the GPU.

Convolutional-Forward-FFT-GPU(𝐼, 𝑤, 𝑆, 𝑓, 𝑓 ′ , ⃗𝑛, ⃗𝑘)
 1 ⃗𝑛′ = ⃗𝑛 − ⃗𝑘 + ⃗1
 2 𝐼̃︀ = 5D-Complex-Tensor(𝑆, 𝑓, ⌊𝑛𝑥 /2⌋ + 1, 𝑛𝑦 , 𝑛𝑧 )
 3 𝑠̃︀ = 5D-Complex-Tensor(𝑓, ⌊𝑛𝑥 /2⌋ + 1, 𝑛𝑦 , 𝑛𝑧 )
 4 for 𝑖 = 0 to 𝑆 − 1
 5        𝐼̃︀𝑖 = GPU-Parallel-FFT(𝐼𝑖 , 𝑠)   ̃︀
 6 Free-Memory(𝐼)
 7 𝑂 ̃︀ = 5D-Complex-Tensor(𝑆, 𝑓 ′ , ⌊𝑛 /2⌋ + 1, 𝑛 , 𝑛 )
                                              𝑥       𝑦 𝑧
                        ′
 8 for 𝑖 = 0 to 𝑓 − 1
 9        𝑤̃︀𝑖 = Parallel-FFT(𝑤𝑖 , 𝑠)
                                   ̃︀
10        for 𝑗 = 0 to 𝑆 − 1
11               𝑠 = Parallel-Mult(𝑤̃︀𝑖 , 𝐼̃︀𝑗 )
12               𝑂̃︀ = Parallel-Accumulate(𝑠)
                    𝑗,𝑖
13 Free-Memory(𝐼)         ̃︀
14 Free-Memory(𝑠)         ̃︀
15 𝑂 = 5D-Real-Tensor(𝑆, 𝑓 ′ , 𝑛′𝑥 , 𝑛′𝑦 , 𝑛′𝑧 )
16 𝑠̃︀ = 5D-Complex-Tensor(𝑓 ′ , ⌊𝑛𝑥 /2⌋ + 1, 𝑛𝑦 , 𝑛𝑧 )
17 for 𝑖 = 0 to 𝑆 − 1
18        𝑂𝑖 = GPU-Parallel-Inverse-FFT(𝑂        ̃︀ )
                                                   𝑖
19 Free-Memory(𝑂)          ̃︀
20 Free-Memory(𝑠)         ̃︀
21 return 𝑂




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is then released, and memory for storing the FFTs of the output images is allocated
(lines 6 and 7).
   In the second stage (lines 8–12) we loop over the 𝑓 ′ output images. For each output
image we compute the transform of the 𝑓 relevant kernels (ones connecting each of
the input images and the current output image). We then loop over the inputs in the
batch, and for each batch we compute the point–wise product of the relevant input
image transforms with the relevant kernel transforms, producing 𝑓 complex valued
images. The values of the 𝑓 images are then accumulated to a single image, – the
transform of the appropriate output image. Note how we can re–use the scratch space
𝑠 (used for GPU-Parallel-FFT) to store the point–wise product of 𝑓 transformed
images.
   The memory used by the input image transforms, and the scratch space is then
released. We then allocate memory for the output images as well as new scratch
space of different size, required for computing 𝑓 ′ inverse FFT transforms at once (lines
13–16).
   In the final stage (lines 17 and 18) we compute the output images by looping over
the batches and computing 𝑓 ′ inverse FFTs in parallel. Finally we free the memory of
the output transforms and the scratch space.
   The memory required by the algorithm is equal to the maximum of memory
required in each of the three stages (Table 3.2).



3.5       Max-pooling and max-pooling fragments

Max pooling of an image of size ⃗𝑛 with the window size of 𝑝⃗ = ⟨𝑝𝑥 , 𝑝𝑦 , 𝑝𝑧 ⟩ divides an
image into blocks of size 𝑝⃗. The maximum value is computed for each block, yielding
an image of size ⟨𝑛𝑥 /𝑝𝑥 , 𝑛𝑦 /𝑝𝑦 , 𝑛𝑧 /𝑝𝑧 ⟩. The input image size ⃗𝑛 is restriceted such that
𝑛𝑥 , 𝑛𝑦 and 𝑛𝑧 are divisible by 𝑝𝑥 , 𝑝𝑦 and 𝑝𝑧 respectively.
   On the CPU, we implement the max-pooling layer so that the max-pooling of each
image is performed in parallel (e.g. by using parallel for loop). For the GPU we use
the cuDNN primitives for max-pooling.

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    When the input image has the same size as the ConvNet field of view, the output
image consists of a single voxel.
    Max pooling fragmentation of an image of size ⃗𝑛 with the window size of 𝑝⃗ produces
𝑝𝑥 × 𝑝𝑦 × 𝑝𝑧 output images (fragments) by performing multiple max pooling operations
on the image at offsets (𝑥, 𝑦, 𝑧), where 0 ≤ 𝑥 < 𝑝𝑥 , 0 ≤ 𝑦 < 𝑝𝑦 , and 0 ≤ 𝑧 < 𝑝𝑧 . When
the image has size such that ⃗𝑛 + ⃗1 is divisible by 𝑝⃗, the sizes of all produced fragments
will equal ⟨⌊𝑛𝑥 /𝑝𝑥 ⌋, ⌊𝑛𝑦 /𝑝𝑦 ⌋, ⌊𝑛𝑧 /𝑝𝑧 ⌋⟩.
    It is important to note that max-pooling fragmentation increases the batch size
for subsequent layers. For an MPF layer, the number of output images is equal to the
number of input images times the number of fragments 𝑝𝑥 × 𝑝𝑦 × 𝑝𝑧 . The increase
in the batch size has an impact on the parallelization of subsequent layers. Simple
max-pooling does not change the batch size.
    Our CPU implementation loops over all the 𝑓 input images of each of 𝑆 inputs in
a parallel for loop, and performs the max-pooling operation at each offset.
    In the GPU implementation, for each valid offset (𝑥, 𝑦, 𝑧) we invoke the cuDNN
max-pooling primitive to compute the max-pooling of all input images at that offset.



3.6       GPU-only or CPU-only inference
By stringing together the CPU (or GPU) layer primitives defined above, we can now
construct CPU-only (or GPU-only) algorithms for ConvNet inference. For each layer,
we have a choice between several primitives. Each max–pooling layer can be replaced
by a MPF layer. The size of the input patch and the number of inputs in the batch
should be chosen. These parameters and the primitives should be chosen to maximize
throughput. Below we describe some theoretical considerations and empirical data
about the optimal choice.


3.6.1      Maximizing throughput

The result of a network applied to an input 𝐼 is obtained by sequentially applying
each primitive. The input to the first layer’s primitive is 𝐼, and the input to every

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subsequent primitive will be the output of the previous layer’s primitive. The output
of the last layer will be our desired result 𝐼 ′ . Note that if MPF layers are used,
the most significant dimension of the output can increase. For an input shape of
(𝑆, 𝑓, 𝑥, 𝑦, 𝑧) the output shape will be of the form (𝛼𝑆, 𝑓 ′ , 𝑥′ , 𝑦 ′ , 𝑧 ′ ). Where 𝛼 value is
depends on the amount of MPF layers used and their pooling window sizes. This
output represents 𝑆 sets, each having 𝛼 fragments which should be recombined to
obtain the sliding–window result. [37, 36].
    The throughput of the network is defined as:

                                           Size(𝐼 ′ )
                                 ∑︀
                                   1≤𝑖≤𝐿 Time(Primitive 𝑖 , 𝐼𝑖 )


Where 𝐼𝑖 is the input of the 𝑖𝑡ℎ layer’s primitive. The output shape will depend on
the shape of the input 𝐼 and the primitives chosen for each max–pooling layer. As the
input shapes to each layer need to have integral sizes, not every combination of layer
primitives and input shapes are allowed (see Table 3.1). Additional constraint is that
the memory required for 𝑖𝑡ℎ primitive to process input 𝐼𝑖 has to be smaller than the
memory available to the system (either the CPU or the GPU).
    In general case, the highest throughput network implementation can be found
using an exhaustive search:


   1. Loop over all possibilities for the max–pooling layers. This will introduce
      constraints on the allowable input shapes.

   2. Loop over all allowed input shapes.

   3. Determine the best implementation for each convolutional layer.


    This is possible because for fixed choice of max–pooling or MPF of each pooling
layer, and fixed input shape, the time and space required for each convolutional layer
is uniquely determined. We pick the fastest one that satisfies the memory constrain.
    In the empirical measurements below, it will turn out that for our networks, the
highest throughput is obtained when all the max–pooling layers are replaced with MPF

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                                                                                              ×10 4
                      14000                                                               4

                      12000
Theoretical speedup




                                                                    Theoretical speedup
                                                                                          3
                      10000

                       8000
                                                                                          2
                       6000                           S=1                                                                    S=1
                                                      S=2                                                                    S=2
                       4000                           S=4                                                                    S=4
                                                      S=8                                 1                                  S=8
                       2000                           S = 16                                                                 S = 16
                                                      S = 32                                                                 S = 32
                          0                                                               0
                              0   100   200   300   400    500                                0       100   200     300   400         500
                                  Memory required (GB)                                                Memory required (GB)
                                        (a)                                                                   (b)

Figure 3-4: Theoretical speedup of pooling networks using FFT–based convolution
for different sizes of the inputs and different batch sizes for a network with 1 pooling
layer (a) and 2 pooling layers (b).


layers, and when the input batch size is one (𝑆 = 1). Additionally, higher throughput
is achieved for larger input sizes.

                      The fact that MPF layers outperform max–pooling layers is not surprising as it
has been shown that using MPF layers reduces amount of operations required for
computing a single output pixel [37, 36].

                      The fact that 𝑆 = 1 produces better results is more surprising, and we attempt
to give some theoretical intuition here. Increasing the batch size can greatly reduce
the computational cost of FFT–based ConvNets by reusing the transforms of the
kernels [34, 35]. However, when the batch size is larger, the memory requirement for
each layer increases, thus effectively limiting the maximal size of the input. Increasing
the batch size, as well as the input image size increase the memory requirements of
the algorithm and lower the computational complexity when FFT based convolutions
are used. In our case, increasing the image size had a stronger effect, which is not
always the case.

                      On Fig. 3-4 we show the theoretical speedup achievable by using different batch
sizes for two networks, using the computational cost of an FFT–based layer shown in
Table 3.1. The theoretical speedup is defined as the ratio of operations required to

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                      ×10 5                                                                                          ×10 5
                  8                                                                                              2

                  7
                                                                           CPU (72 cores)
                                                                           CPU (16 cores)
                  6                                                        GPU                                 1.5
     Throughput




                                                                                                  Throughput
                  5
                                                                                                                                                          CPU (72 cores)
                  4                                                                                              1                                        CPU (16 cores)
                                                                                                                                                          GPU
                  3

                  2                                                                                            0.5

                  1

                  0                                                                                              0
                      0       100    200     300         400         500      600    700    800                  100         200   300    400       500    600    700      800
                                              Input size                                                                                 Input size
                                                    (a)                                                                                       (b)

                      ×10 5                                                                                          ×10 5
             3.5                                                                                               2.5
                                                                                                                             CPU (72 cores)
                  3
                                                                                                                 2           CPU (16 cores)
             2.5                                                                                                             GPU
Throughput




                                                                                                  Throughput




                                                                           CPU (72 cores)                      1.5
                  2
                                                                           CPU (16 cores)
             1.5                                                           GPU                                   1

                  1
                                                                                                               0.5
             0.5

                  0                                                                                              0
                  100          200     300         400         500          600     700     800                  100         200   300    400       500    600    700      800
                                              Input size                                                                                 Input size
                                                    (c)                                                                                       (d)

Figure 3-5: Maximal throughput achieved vs input image size using GPU–only and
CPU–only primitives.




                                                                                                  87
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              Layer   F–maps      n337         n537    n726       n926
                 1      80      Conv 23    Conv 43    Conv 63   Conv 83
                 2      80      Pool 23    Pool 23    Pool 23   Pool 23
                 3      80      Conv 33    Conv 53    Conv 73   Conv 93
                 4      80      Pool 23    Pool 23    Pool 23   Pool 23
                 5      80      Conv 33    Conv 53    Conv 73   Conv 93
                 6      80      Pool 23    Pool 23    Conv 73   Pool 93
                 7      80      Conv 33    Conv 53    Conv 73   Conv 93
                 8      80      Conv 33    Conv 53    Conv 73   Conv 93
                 9      80      Conv 33    Conv 53
                10       3      Conv 33    Conv 53

          Table 3.3: ConvNet architectures of the benchmarked networks.


compute a single output pixel of a naive approach (having input image equal to the
field of view of the network – output equal to 1 × 1 × 1, and a network using MPF
with different input sizes. Instead of having the input size on the 𝑥 axis we display
the memory required for such network.
   We see that for a network with 2 pooling layers, having a batch size of 1 can
achieve the highest theoretical speedup. As the networks we benchmark have 2 or
more pooling layers our empirical results agree with the theoretical estimate. When
optimizing the throughput of networks with only 1 pooling layer, one should consider
larger batch sizes.


3.6.2     Empirical results

We expect that algorithm throughput will depend on ConvNet architecture. For
benchmarking purposes, we chose to make the field of view fairly large. This was
accomplished either by having more pooling layers or larger filters. Two architectures
had seven convolutional and three pooling layers in the sequence CPCPCPCCCC.
The networks had kernel sizes of 3 × 3 × 3 and 5 × 5 × 5. Two other architectures
had 6 convolutional and 2 pooling layers (CPCPCCCC) with larger filter sizes of
7 × 7 × 7 and 9 × 9 × 9. The architectures of all four benchmarked networks are shown
in Table 3.3. A rectified linear transfer function is applied after each convolutional
layer. The complexity of the transfer function has little influence on computation time

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                              n337        n537       n726         n926
               Input size     2353        2173       2433         2533
               Layer 1      CuDNN1      CuDNN1     CuDNN1        CuDNN1
               Layer 2       MPF         MPF        MPF           MPF
               Layer 3      CuDNN2        FFT        FFT         CuDNN1
               Layer 4       MPF         MPF        MPF           MPF
               Layer 5      CuDNN2      CuDNN2       FFT           FFT
               Layer 6       MPF         MPF         FFT           FFT
               Layer 7      CuDNN2      CuDNN2       FFT           FFT
               Layer 8      CuDNN2      CuDNN2       FFT           FFT
               Layer 9      CuDNN2      CuDNN2
               Layer 10     CuDNN2      CuDNN2

                    Table 3.4: Optimal choice for different layers.


as it represents only a small fraction of the overall computation.
   The benchmarks are performed on two machines. The first machine is a 4-way
Intel Xeon E7 8890v3 with total of 72 cores (144 hyper–threads), 256GB of RAM and
a Titan X GPU (with 12GB on–board RAM). The second machine is an Amazon EC2
instance with 32 virtual cores and 244GB of RAM (r3.8xlarge). The second machine
is included as it is more readily available.
   Fig. 3-5 shows the throughput achieved on the four benchmarked networks (Ta-
ble 3.3) with the batch size 𝑆 = 1, and different image sizes.
   It turns out that the optimal choice for primitives for the CPU is always the
same regardless of the network choice. In all cases the first (convolutional) layer was
optimized to data–parallel FFT–based algorithm, and the rest of the convolutional
layers used the task–based algorithm. This is expected because of the much higher
cache locality of our FFT implementations compared to direct convolution, which
plays an important role on the CPU with very fast cache access and relatively slow
RAM access.
   The optimal use of primitives for the GPU have higher dependence on the ConvNet’s
architecture. The optimal choice of primitives for each network, as well as the optimal
input image size is given in Table 3.4. Interestingly, the implementation for the first
layer of all networks is the slower version of the cuDNN’s primitive. Even though the

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         (a)                                               (b)

Figure 3-6: Decomposing a convolutional layer into multiple convolutional sub–layers.


primitive is slower, it is able to process larger input image, as it has lower memory
requirement. There is a trade–off between the layer speed, and the maximal size of
the input that a layer can process. In this case it was more beneficial to be able to
process larger inputs.



3.7       GPU + host RAM and CPU–GPU inference
We saw that the throughput can highly depend on the size of the input image we
are able to process by the network. For kernels of size 53 or more CPU seems to
outperform GPU due to these limits. For that reason we introduce another layer
primitive, a layer whose data is stored in host RAM, and is partially uploaded to the
GPU where the computation is performed.


3.7.1      GPU + host RAM convolutional layer

Consider a convolutional layer whose input is shape is (𝑆, 𝑓, 𝑥, 𝑦, 𝑧) and output shape
(𝑆, 𝑓 ′ , 𝑥′ , 𝑦 ′ , 𝑧 ′ ). The computation performed by the layer can be divided into 𝑁 sub–
layers with input shapes of (𝑆𝑖 , 𝑓𝑖 , 𝑥, 𝑦, 𝑧) and output shape (𝑆𝑖 , 𝑓𝑖′ , 𝑥′ , 𝑦 ′ , 𝑧 ′ ). Fig. 3-6
illustrates how the computation of a convolutional layer with 𝑆 = 1, 𝑓 = 6, and 𝑓 ′ = 4
can be divided into 𝑁 = 4 sub–layers, each having 𝑆𝑖 = 1, 𝑓𝑖 = 3 and 𝑓𝑖′ = 2. The
blue color represents the input images that have to be transferred to the GPU, the red

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color represents the memory that has to be allocated on the GPU. The green color
represent the results that have to be transferred back to the host. The computation
of each sub–layer can be performed by any of the GPU–only primitives. The time
required for processing the layer will equal to the sum of processing time of each
sub–layer and the time required for memory transfers. Due to the GPU’s memory
limit, not all divisions are feasible.

   Due to a large number of possible divisions, simple way to find the optimal division
into sub–layers by considering all feasible divisions, and then picking the optimal
primitive for each sub–layer might be very time consuming. The search can be pruned
using the following two heuristics.

   First, for small kernel sizes (53 or smaller), we consider only the cuDNN primitives
based on direct–convolution; and for larger kernels we only consider our FFT–based
primitive.

   Second, when 𝑆 > 1, we prefer the division into sub–layers such that 𝑓𝑖 = 𝑓 ,
𝑓𝑖′ = 𝑓 ′ , and 𝑆𝑖 ≤ 𝑆. This, essentially divides the batches of the input into sub–batches
that are processed on the GPU. In this case, each input will have to be transferred to
the GPU exactly once, and each output will be transferred back to the host exactly
once.

   If there is no feasible division into sub–batches, we prefer sub–layers with 𝑆𝑖 = 1,
where most of the sub–layers have 𝑓𝑖 = 𝑓𝛼 ≤ 𝑓 and 𝑓𝑖′ = 𝑓𝛼′ ≤ 𝑓 ′ . Some sub–layers
will have to have a different input/output shape if 𝑓 or 𝑓 ′ are not divisible by 𝑓𝛼 and
𝑓𝛼′ , respectively. As most of the sub–layers have the same input and output shape,
the time required for the layer can be estimated by running only sub–layers with
distinctive input shapes.

   The two heuristics render the search for the optimal sub–division, and optimal
choice for each sub–layer very fast.

   The host memory requirement for this layer equals to the amount of memory
required to store the input and the output tensor, and GPU on–board memory has to
be large enough to facilitate each sub–layer.

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Figure 3-7: A network of form CPCPCCCC with the first half executed one layer at
the time, and the second half one batch at the time. We pooling window size of the
MPF layers is 2 × 1 × 1.


3.7.2            GPU + host RAM ConvNet execution

Implementing GPU + host RAM MPF layer turned out to be impractical. Originally
we implemented similar GPU + host RAM MPF layers. However, it turned out that
it is better to compute the MPF layers on the CPU, even when very few cores are
available. This is because of the expensive transfer to and from device and relative
low computational complexity of the MPF layers.
      The simplest way to execute a network using the GPU for computation and host
RAM for storage is to use individually optimized GPU + host RAM layer described
above for each convolutional layer, and the CPU implementation of a MPF layer for
each pooling layer.
      Turns out that, when using MPF layers for evaluating a max–pooling ConvNet we
can achieve better performances by minimizing the data transferred to and from the
GPU. To understand how we can improve the performances, we need to understand
the following property of a ConvNet.
      A ConvNet with input shape 𝐼 = (𝑆, 𝑓, 𝑥, 𝑦, 𝑧) with 𝑆 > 1, will have the batch
size 𝑆 ′ of the output shape 𝐼 ′ = (𝑆 ′ , 𝑓 ′ , 𝑥′ , 𝑦 ′ , 𝑧 ′ ) always divisible by 𝑆. The values
       ′       𝑆′
𝐼 ′ ( 𝑆𝑆 𝑖 :   𝑆
                  (𝑖+1), :, :, :, :)   will only depend on 𝐼(𝑖, :, :, :, :). This means that concatenating
results of applying a layer on two inputs 𝐼1 (𝑆1 , 𝑓, 𝑥, 𝑦, 𝑧) and 𝐼2 (𝑆2 , 𝑓, 𝑥, 𝑦, 𝑧) will equal
to the result of the concatenated input of size (𝑆1 + 𝑆2 , 𝑓, 𝑥, 𝑦, 𝑧).
      Consider the output shape of the first 𝜃 layers of a ConvNet. The computation of

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the rest of the layers can be considered to be another ConvNet that takes the output
of the 𝜃𝑡ℎ layer as the input. If some of the first 𝜃 layers were MPF layers, the batch
size of the 𝜃𝑡ℎ layer output 𝑆𝜃 will be greater than 1. Instead processing one layer at
the time for the rest of the layers, one might be able to process all remaining layers for
a sub–batch 𝑆^𝜃 at the time using a GPU–only network. This will reduce the memory
transfer overhead as no intermediate results have to be transferred back to the host.
In Fig. 3-7 we illustrate the timeline of executing a network of the form CPCPCCCC
by having the first four layers executed one layer at the time, and the rest one batch
at the time.

   We illustrate the stragety through the follwing example. Assume we are given a
ConvNet architecture in the form CPCPCCCC, where each layer has 3 input and 3
output images, except for the first layer that has 1 input image and the last that has 1
output image. Let the sizes of the pooling window be 2 × 1 × 1, this means that when
MPF layers is used, for each input tuple a MPF layer will produce 2 fragments of the
same size. Mainly the most significant dimension of the input tensor to the layer will
double. If the batch size 𝑆 of the network input was 1, the output of the second MPF
layer will have the batch size of 4. At this point we might be able to process the rest
of the network for a single input tuple (or multiple) using the GPU–only approach,
thus only having to upload the input to the GPU once, and fetch the final result
once. Processing the first four layers of the network using the GPU + host RAM and
MPF layers and the rest of the layers with the GPU–only approach for the rest of the
ConvNet is illustrated in Fig. 3-7. Here we process the first four layers, one layer at
the time, and the last four layers one batch at the time.

   Finding the optimal network execution strategy for such execution becomes more
complex. The first additional parameter we have is 𝜃, (0 ≤ 𝜃 ≤ 𝐿), where 𝐿 is the
number of layers of the given ConvNet. This parameters represent the number of
layers that will be processed one at the time using the GPU + host RAM or CPU-MPF
layer at the time. The rest of the network is then executed one (or more) batches at
the time using the GPU–only primitives.

   For a given value of 𝜃 and a given input size, this approach has two limitations.

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Firstly, 𝜃 layers have to fit on the host RAM. Secondly, there has to exist a GPU–only
network that can process the latter layers on the GPU.
   In order to find an optimal implementation we, consider any valid input shape and
any valid 𝜃 that are convolutional to use GPU + host RAM primitive, and separately
optimize the rest of the GPU–only network


3.7.3      CPU–GPU ConvNet execution

Finally, inference can be done by utilizing both CPU and GPU. As in the GPU + host
RAM approach, the network layers are divided into two groups. For the first 𝜃 layers,
we use the optimal CPU implementation as defined in Section VI, and for the rest of
the layers we use the optimal GPU implementation as defined in the previous section.
   The CPU and the GPU form a producer–consumer pipeline. The CPU produces
by computing the first 𝜃 layers for a given input image, and queuing the result. The
GPU consumes the data on the queue, taking as input the output of the 𝜃𝑡ℎ layer, and
yields the final output of the last layer.
   This approach can generate huge memory overhead if the CPU produces data
much faster than the GPU can consume. For that reason, the CPU is not allowed to
start working on the next input until the queue is empty – until the GPU had picked
up and started executing the rest of the network for all the data on the queue. This
essentially limits the queue to a maximal size of one.
   For a given value of 𝜃 and a given input size the GPU will operate on the output
of the 𝜃𝑡ℎ layer producing the final output. Hence the output of the 𝜃𝑡ℎ layer has to
be stored in the host RAM, along with memory allocated for the network output. As
both the CPUs and GPUs can do work only when the queue is empty, the rest of the
host RAM is available to the CPUs.
   Finding the optimal implementation through an exhaustive search resembles the
one in the previous section. For each valid input shape, we loop over all valid values
of 𝜃, and for each such division of the ConvNet, we separately optimize the first 𝜃
CPU-only layers and the rest of the GPU-only layers, having the memory limitations
in mind.

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                              ×10 5                                                                            ×10 5
                    12                                                                                   3.5


                    10                                                                                     3
Voxels per second




                                                                                     Voxels per second
                                                                                                         2.5
                          8
                                                              CPU Only                                     2
                                                              GPU + Host RAM
                          6
                                                              CPU + GPU
                                                                                                         1.5
                                                              GPU Only
                          4
                                                                                                           1
                                                                                                                             CPU Only
                                                                                                                             GPU + Host RAM
                          2                                                                              0.5                 CPU + GPU
                                                                                                                             GPU Only
                          0                                                                                0
                              0       50    100         150       200          250                             0       50     100         150       200          250
                                      Memory consumed (GB)                                                             Memory consumed (GB)
                                                  (a)                                                                               (b)

                              ×10 5                                                                            ×10 5
                          5                                                                                4

                                                                                                         3.5
                          4
      Voxels per second




                                                                                     Voxels per second




                                                                                                           3

                          3                                                                              2.5

                                                              CPU Only                                     2                                    CPU Only
                                                              GPU + Host RAM                                                                    GPU + Host RAM
                          2                                                                              1.5                                    CPU + GPU
                                                              CPU + GPU
                                                              GPU Only                                                                          GPU Only
                                                                                                           1
                          1
                                                                                                         0.5

                          0                                                                                0
                              0       50    100         150       200          250                             0       50     100         150       200          250
                                      Memory consumed (GB)                                                             Memory consumed (GB)
                                                  (c)                                                                               (d)

 Figure 3-8: Maximal throughput achieved vs memory consumption using GPU–only,
 CPU–only, CPU + host RAM and CPU–GPU implementations for different image
 sizes.




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   Fig. 3-8 shows the throughput achieved on the four benchmarked networks (Ta-
ble 3.3) with the batch size 𝑆 = 1, and different image sizes obtained during the
exhaustive search for the highest throughput. Instead of showing the input image size
on the 𝑥 axis, we decide to show the memory required by the implementation, as it
allows us to analyze how the memory available to the system influences the maximal
possible throughput. The memory consumed is calculated as max{𝑀𝐶𝑃 𝑈 , 𝑀𝐺𝑃 𝑈 }.



3.8      Comparison to other algorithms
We compare our 4 approaches (GPU–only, CPU–only, GPU + host RAM and GPU–
CPU) with other publicly available implementations and show the results in the
Table 3.5. All benchmarks are performed on the same hardware, the 4–way Intel Xeon
E7—8890 v3 machine with 256GB of RAM and a Titan X GPU.
   The results of our approaches are based on the optimizations described in the
previous sections. For the other approaches, we varied the input sizes and measured
the throughput, we reported the highest value of throughput obtained, which was
always correlated with the size of the input we were able to process.

  Competitors    Baseline (cuDNN)       Caffe        ELEKTRONN             ZNN
  n337                22, 934.8         1.348           122, 668         34, 334.8
  n537                1, 048.68           –                 –             9, 494.5
  n726                13, 520.4           –              6, 122          31, 354.8
  n926                2, 667.86           –                 –            20, 908.6
  ZNNi              GPU-Only         CPU-Only     GPU + host RAM        GPU-CPU
  n337                671, 782         262, 131         727, 103        1, 059, 910
  n537                29, 352.1        194, 683         147, 965         334, 163
  n726                97, 257.2        300, 312         148, 194         470, 166
  n926                35, 051.3        249, 190         104, 946         375, 295

                     Table 3.5: Comparisons to other methods.


   The baseline (cuDNN) approach consists of calling the cuDNN [53] primitives for
convolution and max–pooling. Unlike other approaches, this is not a general framework
– it requires the user to write some code for calling into the cuDNN primitives, for

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calculating the input/output shapes and some minimal memory management. We
expect that a user with minimal programming experience could implement the above.
Our implementation was done in C++, however one could use cuDNN bindings for
other languages.
   Caffe [30] is another GPU ConvNet framework. We benchmarked a version that
implements sliding window ConvNets using “strided kernels” [65]. The implementation
is also optimized for training and seems to have a huge memory overhead as we were
only able to run the smallest of the networks.
   ELEKTRONN [66] was the only competitor that provides inference optimization for
3D sliding window ConvNets using MPF. The package also uses cuDNN convolutional
primitives. However, it was able only to process two of our four networks.
   ZNN [Chap. 2] is a framework optimized for training sliding window 3D ConvNets
on multi–core and many–core CPUs using “max–filtering” followed by FFT–based
“sparse convolution”. ZNN was the best competitor for networks with filters of 5 × 5 × 5
or larger.
   Our CPU-only, GPU-only, GPU + host RAM, and CPU-GPU implementations
outperform all competitors. For the smallest ConvNet architecture, 237 with the
kernel sizes of 33 , the next best competitor was ELEKTRONN with approximately a
tenth of the speed of our CPU–GPU approach. For all the other ConvNets, the next
best competitor was ZNN with approximately 15× lower throughput.



3.9      Summary and conclusions
ZNNi achieves high throughput by providing and combining various primitives for
different layer types. Generally, increasing the input to the network increases the
throughput. For that reason each primitive is designed to have minimal memory
overhead. Each primitive comes with specific trade–offs in


   ∙ Memory overhead.

   ∙ Computational complexity.

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   ∙ Parallelization potential.

   The optimal choice of primitives can be found by doing an exhaustive search of
all possibilities. Some rules of thumb can be used to narrow the search, but are not
necessary. We believe that any time spent searching for the optimal choice of layers
and/or the input size will be amortized out when large amount of data is processed.
   High throughput inference can have additional benefits. Consider the ConvNet
described in [11]. Using combined CPU–GPU approach, it achieves 30 Mvoxels/s
throughput. This correspond to processing around 30 Mbytes/s of input images
and generating 360 Mbytes/s of output affinity graph (The network described has
3 outputs, each output is a 4–byte floating point number). 360 Mbytes/s exceeds
reading speed of most modern hard drives. In this case it might be more beneficial to
store input images on disk, and process images in real–time. This will also reduce the
total amount of storage required by a factor of 12×.
   We focused on throughput (number of output voxels per unit time) as the per-
formance metric. However, one might want to optimize for alternative metrics, such
as minimizing energy consumption (watts/voxel) or minimizing the price required to
produce a voxel ($/voxel). The price includes the amortized cost of the hardware,
as well as the cost of the energy consumed. When processing extremely large sets of
inputs, the two metrics become equivalent, as the cost of electricity will dominate.
   For fixed architecture (CPU or GPU or both), minimizing electricity consumption
will is equivalent to maximizing the throughput. As the throughput is correlated with
both the input size and the processing power of the CPUs/GPUs. Based on the work
in this chapter, to minimize energy consumption, one should consider increasing the
amount of RAM available before adding more CPUs or GPUs to the machine.




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Chapter 4


Watershed Segmentation of
Edge–Weighted Graphs and
Size–Dependent Single Linkage
Clustering


In this chapter we discuss watershed segmentation of an edge–weighted undirected
graphs. We present an algorithm that computes a directed graph that defines a unique
direction of steepest ascent for every vertex, and then finds the basins of attraction of
this steepest ascent dynamics. The algorithm is similar to “watershed cuts,” except
that it divides non-maximal plateaus more evenly [18, 21, 22].


   The resulting watershed basins constitute a flat segmentation of the affinity graph.
Applying single linkage clustering to the watershed basins yields a hierarchy of
segmentations. We prove that this is a “natural” definition of hierarchy, in the
sense that each level is equivalent to the flat watershed segmentation of some upper
thresholding of the edge–weighted graph. The time complexity scales quasilinearly
with the number of edges, making our algorithm practical even for very large graphs.

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4.1     Introduction

Many interesting computational problems can be formulated as the partitioning or
segmentation of the vertices of an edge-weighted undirected graph. The weight of
an edge between two vertices represents their “affinity” for each other, so we will use
the term “affinity graph.” A common approach to segmentation is to formulate an
objective function favoring placement of high affinity vertex pairs in the same segment,
and low affinity pairs in different segments. Then an optimization algorithm is applied
to obtain a segmentation [19, 20]. These algorithms typically run in polynomial time,
but the exponent is larger than one, limiting their applicability to very large graphs.

   On the other hand, the family of watershed algorithms achieves linear time com-
plexity, and is therefore practical for large graphs. Roughly speaking, these algorithms
find the basins of attraction of a steepest ascent dynamics on the graph. The basins are
in one–to–one correspondence with the regional maxima of the graph. The definition
becomes subtle in regions of the graph that are “flat” but not regional maxima. In
such “non-maximal plateaus,” the direction of steepest ascent is not uniquely defined.

   Here we propose a new definition for watershed segmentation that is similar to
the previously proposed “watershed cuts” [18, 21], except that non-maximal plateaus
are divided more evenly. The steepest ascent path from any plateau vertex is defined
as the unique path that exits the plateau in the shortest possible time. This idea
was previously proposed for watershed segmentation of images [26, 27]. We propose
a similar approach for edge-weighted graphs. We also provide an algorithm that
computes the watershed segmentation in linear time.

   Watershed algorithms generally give rise to severe oversegmentation, because
noise creates many regional maxima, and every regional maximum corresponds to a
watershed basin. If prior knowledge enables the placement of one “marker” in each
object, then marker-based watershed algorithms can be applied to divide the graph
into one region per marker [79, 80]. However, no such prior knowledge exists in most
interesting cases. Then two methods are commonly used to reduce oversegmentation –
smoothing and agglomeration. Smoothing the graph reduces noise and hence reduces

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the number of regional maxima, after which the watershed algorithm can be applied.
Agglomeration of watershed basins yields a fine-to-coarse hierarchy of segmentations
with progressively fewer and larger regions.

   Here we focus attention on agglomeration by single linkage clustering. This method
is not expected to produce performance superior to more sophisticated agglomeration
methods [81]. However, we feel that this method is “natural” because it is equivalent
to another method of reducing oversegmentation based on smoothing. Namely, single
linkage clustering is equivalent to smoothing the affinity graph via upper thresholding,
i.e., setting all affinities above a threshold 𝜃 to infinity. We will prove that varying 𝜃
yields exactly the same hierarchy of segmentations as single linkage clustering of the
watershed basins of the original affinity graph.

   We also show how to modify single linkage clustering by making it depend not
only on edge weights but also on cluster size. The modification is useful when there
is prior knowledge about the size of true segments, and is shown to have an efficient
implementation because size is a property that is guaranteed to increase with each
agglomerative step. The runtime of single linkage clustering is quasi–linear in the
number of edges in the watershed basin graph.

   Felzenszwalb et al. [2] and Guimaraes at al. [82] have proposed efficient image
segmentation methods that are quasilinear in the number of edges in the affinity graph.
We show that our method produces superior results to that of [2] for the segmentation
of neural images from serial electron microscopy.

   For the sake of concreteness, the text and figures will often consider the case of
an affinity graph in which the vertices are image pixels or voxels, and the edges are
between nearest neighbor voxels. However, the definitions and algorithms are actually
applicable to arbitrary affinity graphs.

   Finally, we provide a C++ implementation for the special case of affinity graphs in
which vertices represent the voxels of 3D images, and edges represent nearest neighbor
pairs of voxels. The results of the algorithm are illustrated by segmenting images from
3D electron microscopy.

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4.2         Flat watershed segmentation

Consider a connected graph 𝐺 = (𝑉, 𝐸) with non-negative edge weights. An edge
{𝑢, 𝑣} is locally maximal for 𝑢 if there is no other edge incident to 𝑢 with higher
weight. A steepest ascent path ⟨𝑣0 , 𝑒0 , 𝑣1 , 𝑒1 , 𝑣2 , . . . ⟩ is one for which every edge 𝑒𝑖 is
locally maximal with respect to 𝑣𝑖 .
       A regional maximum 𝑀 is a connected subgraph of 𝐺 such that there is a steepest
ascent path between any pair of vertices in 𝑀 , and every steepest ascent path starting
in 𝑀 will stay within 𝑀 . A vertex 𝑣 belongs to the basin of attraction of a regional
maximum 𝑀 if there exists a steepest ascent path from 𝑣 to some vertex in 𝑀 .
       In the special case where all edge weights take on unique values, the locally
maximal edge is uniquely defined for each vertex, and hence the steepest ascent path
is also uniquely defined. It follows that every vertex belongs to exactly one basin of
attraction.1 The basins constitute a segmentation of the graph.
       More generally, a locally maximal edge for a vertex may not be unique, because of
the possibility of ties. It follows that a steepest ascent path starting from a vertex may
not be unique, and that a vertex may belong to more than one basin of attraction.
Furthermore, there may exist steepest ascent paths that never converge to a regional
maximum but remain stuck on non-maximal “plateaus.” In this case, the definition of
the watershed transform is more subtle.
       The “watershed cuts” algorithm [18, 21] alternates between depth first search
(DFS) and breadth first search (BFS) for a regional maximum. It starts with DFS,
switches to BFS when it enters a plateau, switches back to DFS when it exits a
plateau, and continues alternating in this way until a regional maximum is found.
This solution to the plateau problem is reasonable, but has no guarantee of dividing
plateaus evenly.
       Our algorithm splits the search process into several passes through the affinity
graph. The first pass explicitly computes a steepest ascent graph. The second pass
eliminates more edges from the steepest ascent graph so that all plateau paths exit in
   1
    Every basin consists of two vertices, and the steepest ascent path within a basin cycles between
the two vertices.


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                         (a)                                (b)




                         (c)                                (d)

Figure 4-1: The plateau division problem. (a) Affinity graph; (b) Retaining only
maximal edges for each vertex yields this steepest ascent graph; (c) locally maximal
plateaus (black), non-maximal plateau (dark gray), saddle vertex (S), plateau corners
(C); (d) the two basins of attractions and border vertices (dark gray)


the shortest possible time (our definition of “even” plateau division). The third pass
finds the watershed basins by computing the connected components of the steepest
ascent graph.


4.2.1     Steepest ascent graph, version 1

The starting point is an edge-weighted undirected graph 𝐺. Replace each edge of 𝐺
by edges in both directions between the same vertices (Fig. 1a). Then for every vertex
retain outgoing edges with maximal weight and eliminate other outgoing edges. The
resulting graph, called 𝑆1 is directed and unweighted.
   By construction, any (directed) path in 𝑆1 is a path of steepest ascent in 𝐺. If a pair
of vertices has edges in both directions, they are represented by a single “bidirectional

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                         (a)                                (b)




                         (c)                                (d)

Figure 4-2: Watershed algorithm that divides plateaus evenly. (a) existence of a vertex
ordering is assumed; (b) Every plateau vertex is labeled by its graph distance to the
nearest plateau corner; (c) the steepest ascent graph defines unique paths; (d) final
watershed segmentation


edge” in Fig. 1b. Therefore, the edges of any vertex in 𝑆1 can be classified as incoming,
outgoing, and bidirectional.



4.2.2     Steepest ascent graph, versions 2 and 3

If a vertex of 𝑆1 has


  1. more than one outgoing edge,


  2. both outgoing and bidirectional edges,


  3. or more than one bidirectional edge,

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then more than one path exists from that vertex. We will modify 𝑆1 in a way that
eliminates all vertices of categories (1) and (2) and some vertices of category (3). Note
that the three categories may overlap. Also “elimination” of a vertex from a category
does not mean removal of the vertex from the graph, but modifying its edges so that
it no longer falls into that category.


Elimination of saddle vertices and identification of plateau exits

In addition to the affinity graph 𝐺, the algorithm is assumed to receive another input,
an ordering of the vertices of 𝐺 that is used for tie-breaking.
   For all vertices, we perform the following. If we encounter a vertex with multiple
outgoing edges (category 1 above), we identify the “winning” edge as the one pointing
to the vertex that comes first in the ordering. We retain the “winning” edge and
remove the others. If a vertex has both outgoing and bidirectional edges, it is identified
as category 2. This procedure yields 𝑆2 , the second version of the steepest ascent
graph, and a list of category 2 vertices.


Division of non-maximal plateaus

Using the category 2 vertices as starting points, we perform breadth first search
(BFS) for bidirectional edges. For each vertex reached by the search, we convert all
bidirectional edges to incoming edges. At each depth of the search, we use the same
ordering of the vertices as before. The output of this procedure is 𝑆3 , the third version
of the steepest ascent graph.
   The difference between 𝑆2 and 𝑆3 can be described as follows. A plateau is defined
as a connected component of the subgraph of 𝑆2 containing only bidirectional edges.
A category 2 vertex is a plateau vertex, given that it has bidirectional edges. It also
has an outgoing edge, through which a path can leave the plateau. Therefore we refer
to a category 2 vertex in 𝑆2 as a plateau exit. As saddle vertices are eliminated, the
plateau exit will have exactly one outgoing edge.
   Plateaus can be classified based on the presence or absence of exits.
   A non-maximal plateau contains one or more exits. This type of plateau is explored

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by the BFS procedure, which starts from plateau exits. If a directed path in 𝑆2 enters
a non-maximal plateau, it may either (1) remain within the plateau for all time, or
(2) leave through an exit. The BFS procedure eliminates the first possibility, so that
all directed paths are guaranteed to leave the plateau. Furthemore, a directed path is
guaranteed to reach an exit in the shortest possible time. In other words, from each
vertex in the plateau, a unique directed path leads to the nearest exit, where nearest
is defined based on graph distance. If there is a tie between exits, it is resolved using
the same vertex ordering as before.
   Regionally maximal plateaus contain no exits; they are equivalent to regional
maxima of the original graph. This type of plateau is not explored by the BFS
procedure. Therefore 𝑆3 is no different from 𝑆2 in regionally maximal plateaus. On
the other hand, 𝑆3 differs from 𝑆2 in non-maximal plateaus, where all bidirectional
edges are converted to unidirectional edges.
   The BFS is implemented as follows. We initialize a global FIFO queue 𝑄, mark
all the corner vertices as visited and insert them into 𝑄 in increasing order of their
index. While 𝑄 is not empty we remove the vertex 𝑣 from the front of the queue, and
loop over all its bidirectional edges {𝑣, 𝑢}. If 𝑢 has not yet been visited, we mark it as
visited, insert it to the back of the queue, and change the edge from bidirectional to
incoming (𝑣 ← 𝑢). If 𝑢 has already been visited, we remove the bidirectional edge
{𝑣, 𝑢} completely.


4.2.3     Connected components

To summarize the dynamics of the third and final steepest ascent graph 𝑆3 , all paths
eventually converge to regionally maximal plateaus. Every path is unique until it
reaches a regionally maximal plateau. Once a path enters a regionally maximal plateau,
it remains within the plateau for all future time and may become nonunique. On the
way to a locally maximal plateau, if a path enters a non-maximal plateau, it will exit
in the shortest possible time (Fig. 4-2c).
   Since the path from any vertex to its corresponding regional maximum is unique,
𝑆3 can be segmented into the basins of attraction of the dynamics. This is done

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by regarding 𝑆3 as an undirected graph and computing its connected components,
for example by depth first search. The resulting connected components are called
watershed basins, and are the output of watershed segmentation. The non-maximal
plateaus will be evenly divided, in the sense that every plateau vertex will belong to
the same watershed basin as its nearest plateau exit.


4.2.4     Time complexity

As we operate on a connected graph we assume 𝑂(|𝐸|) ≥ 𝑂(|𝑉 |). To create 𝑆1 , we
visit each edge a constant number of times. To create 𝑆2 , we visit each vertex at
most once, and edges incident to it a constant number of times. The complexity of
connected components is 𝑂(|𝐸|). Therefore the overall complexity is 𝑂(|𝐸|).


4.2.5     Properties of watershed segmentation

The basins are in one-to-one correspondence with regional maxima, meaning that
the total number of segments will be equal to the number of regional maxima, where
regionally maximal plateaus also count as a regional maxima. The algorithm will
produce an optimal partitioning as defined in [18], that is, it will compute the maximal
spanning forest with exactly 𝑁 trees, where 𝑁 is the number of regional maxima.



4.3      Reducing oversegmentation by merging

The watershed segmentation is typically fragmented into an overly large number of
small basins. This is because the basins are in one–to–one correspondence with local
maxima of the graph, and noise in the affinities can give rise to a large number of
local maxima. To reduce oversegmentation, one approach is to define a new affinity
graph in which vertices represent basins, and apply some segmentation algorithm to
this “basin affinity graph.” Typically, an edge exists in the basin affinity graph if and
only if there exists an edge between the two basins in the original affinity graph. The
basin affinities can be defined in many ways, and this definition is left unspecified for

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the time being.
   A particularly simple algorithm for segmenting a graph is to find its connected
components after lower thresholding at 𝜃.

Definition 1. Lower thresholding a graph at 𝜃. Removing all edges with weights less
than 𝜃.

   Applying this algorithm for multiple values of 𝜃 yields a family of segmentations,
where larger 𝜃 means a finer segmentation. The family is hierarchical, meaning that
if 𝜃2 > 𝜃1 , then segmentation 𝑆𝜃2 is a refinement of 𝑆𝜃1 , i.e., every segment in 𝑆𝜃1 is
equal to the union of one or more segments of 𝑆𝜃2 .
   If we would like to be able to quickly compute the connected components for any
value of 𝜃, we can precompute the maximal spanning tree (MST) of the basin affinity
graph (or maximal spanning forest if the graph is not connected). The connected
components of the MST after lower thresholding are the same as those of the basin
affinity graph after lower thresholding.
   The MST can be computed by sorting the edges of the graph in order of decreasing
affinity. Then apply Kruskal’s algorithm to find the MST. The time complexity is
dominated by the sort, and is 𝑂(𝐸𝑏𝑎𝑠𝑖𝑛 log 𝐸𝑏𝑎𝑠𝑖𝑛 ), where 𝐸𝑏𝑎𝑠𝑖𝑛 is the number of edges
in the basin affinity graph.
   The sequence of merge operations can be represented by a tree called a dendrogram.
If we view the dendrogram as the output (rather than the MST), Kruskal’s algorithm
is equivalent to single linkage clustering (SLC) starting from the watershed basins.
The leaves of the dendrogram represent the basins. Each internal vertex is the root of
a subtree, and represents an “agglomerated cluster,” one generated by all the merging
all the basins in the subtree. The height of the internal vertex represents the affinity
at which the last merge operation in the subtree occurs.
   The MST contains similar but different information than the dendrogram. Internal
vertices of the dendrogram represent agglomerated clusters, while vertices of the MST
are leaf clusters. Each edge of the MST corresponds to the merge operation that
makes its leaf clusters belong to the same agglomerated cluster.

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                        (a)                              (b)




                        (c)                               (d)

Figure 4-3: Relationship between MST and dendrogram. (a) Watershed transform of
an affinity graph, (b) basin affinity graph, (c) MST of the basin affinity graph, and
(d) resulting dendrogram.




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   The equivalence of all the above methods of segmenting a graph is not specific to
watershed basins, and is summarized by the following Lemma generally applicable to
any affinity graph.

Lemma 1. The connected components of an

   1. affinity graph after lower thresholding at 𝜃,

   2. its MST after lower thresholding at 𝜃,

   3. and its SLC dendrogram after removing vertices with height greater than or equal
      to 𝜃

are equivalent.

   Proofs are omitted as they are simple and the equivalence is well-known.



4.4      Reducing oversegmentation by smoothing
The previous section concerned the basin affinity graph, which was constructed from
the watershed basins derived from the original affinity graph. To avoid confusion,
we will henceforth refer to the original affinity graph as the “voxel affinity graph.”
Although this term comes from the specific application to 3D image segmentation,
the mathematics is generally applicable to any kind of affinity graph. We will refer to
the edge weights in the basin graph as “basin affinities” if there is risk of confusion
with the original “voxel affinities.” For short we will say “affinities” if it is clear from
the context whether we are discussing basins or voxels.
   In the previous section, the definition of basin affinities was left unspecified. We
now specialize to a particular definition.

Theorem 1. Define the affinity of two basins to be the maximum affinity of edges
between the two basins in the voxel affinity graph. Then the following are equivalent:

   1. Connected components of the basin affinity graph after lower thresholding at 𝜃.

   2. Watershed basins of the voxel affinity graph after upper thresholding at 𝜃.

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   The Theorem makes use of another thresholding operation for a graph.

Definition 2. Upper thresholding a graph at 𝜃. Replacing all weights larger than 𝜃
by 𝜃.

   When applied to an affinity graph, upper thresholding can be viewed as a kind
of “smoothing” operation. It will tend to reduce the number of local maxima by
creating maximal plateaus, and hence reduce oversegmentation. The implication of
the Theorem is that smoothing before watershed can be equivalent to merging basins
after watershed, as a method of reducing oversegmentation.
   Upper thresholding reduces computational cost, measured in both time and memory.
This comes at the expense of losing the ability to compute the finer segmentations in
the hierarchy.

Proof. Let 𝐺(𝜃) be the result of upper thresholding the voxel affinity graph 𝐺 at
𝜃. Let 𝑊 and 𝑊 (𝜃) be the watershed segmentations of 𝐺 and 𝐺(𝜃), respectively.
We would like to show that 𝑊 (𝜃) is equivalent to the connected components of the
𝑊 -basin affinity graph after lower thresholding at 𝜃.
   Let 𝑆2 and 𝑆2 (𝜃) be the (version 2) steepest ascent graphs obtained from 𝐺 and
𝐺(𝜃), respectively. Vertices of 𝑆2 not incident to any edge with affinity smaller than 𝜃
will stay unmodified, even after plateau division. All other vertices of 𝑆2 will become
part of a regionally maximal plateau of 𝑆2 (𝜃). All locally maximal edges of 𝑆2 will
stay locally maximal. Therefore the only effect of the affinity threshold is to introduce
bidirectional edges. It follows that a connected component of 𝑆2 must be a subset of
a connected component of 𝑆2 (𝜃). In other words, every 𝑊 -basin is a subset of some
𝑊𝜃 -basin. Since the 𝑊 -basins are a segmentation of the graph, it follows that every
𝑊𝜃 -basin is a union of 𝑊 -basins. It only remains to be shown that this union is a
connected component of the 𝑊 -basin affinity graph after lower thresholding at 𝜃.
   This is the case, because the following statements are equivalent:

   1. Two 𝑊 -basins are contained in the same 𝑊𝜃 -basin.

   2. The two regional maxima in 𝐺 corresponding to the 𝑊 -basins are contained in
        the regional maximum of 𝐺𝜃 corresponding to the 𝑊𝜃 -basin.

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   3. There is a path between the two regional maxima in 𝐺 with all affinities greater
      than 𝜃.

   4. There is a path between the two 𝑊 -basins in the basin graph after lower
      thresholding at 𝜃.




   We’ll refer to 𝜃 as the high threshold, as it inherently disregards all the edges with
the affinity higher than 𝜃 replacing them with some common high value (∞) in the
original affinity graph.



4.5       Connected components of the voxel affinity graph
As discussed above, a simple algorithm for segmenting the basin affinity graph is
to find the connected components after lower thresholding. This simple algorithm
could also be applied directly to the voxel affinity graph, rather than the watershed
algorithm. The relationship between these two segmentations is

Theorem 2. Define the affinity of two basins to be the maximum affinity of edges
between the two basins in the voxel affinity graph. Then any connected component
of the voxel affinity graph after lower thresholding at 𝜃 is contained in a connected
component of the basin affinity graph after lower thresholding at 𝜃.

   Many connected components of the voxel affinity graph will resemble “shrunken”
versions of connected components of the basin affinity graph. They are shrunken
because

Proof. Suppose that two voxels 𝑣1 and 𝑣2 belong to the same connected component
of the voxel affinity graph after lower thresholding at 𝜃, and suppose that 𝑣1 and 𝑣2
belong to basins 𝑏1 and 𝑏2 . There exists a path between 𝑣1 and 𝑣2 in the voxel affinity
graph with all affinities greater than 𝜃. Some of the edges of this path cross between
basins. For each pair of basins, it follows that the affinity is greater than 𝜃. Therefore
there exists a path in the basin affinity graph from 𝑏1 to 𝑏2 with all affinities greater

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than 𝜃. It follows that 𝑏1 and 𝑏2 (and 𝑣1 and 𝑣2 ) must belong to the same connected
component of the basin affinity graph.



4.6      Watershed transform of lower thresholded affin-
         ity graph

A main property of the watershed algorithm is that it segments every voxel of the
affinity graph, regardless of the affinities of the incident edges. Sometimes, it is desired
to have unsegmented voxels – voxels not belonging to any segment. Those are typically
voxels in the affinity graph whose all incident edges have very low affinity. “Natural”
interpretation of such cases is that they don’t belong to the same component as any
of the incident voxels.
   As in the previous section, where the segmentation is obtained by finding the
connected components of the affinity graph after lower thresholding at 𝜃, we could
also find the watershed transform of the graph after lower thresholding at 𝜖.
   Lower thresholding a graph can introduce singleton vertices as well as make the
graph disconnected. In this case, the singleton vertices are assumed to be unsegmented,
and the watershed is computed for each connected component separately.
   We’ll refer to 𝜖 as the low threshold, as it disregards all the edges with the affinity
lower than 𝜖 removing them from the affinity graph.



4.7      Post–processing by size dependent single–linkage
         clustering of the basin affinity graph

We show how to modify single linkage clustering by making it depend not only
on edge weights but also on cluster size. The modification is useful when there is
prior knowledge about the size of true segments, and is shown to have an efficient
implementation because size is a property that is guaranteed to increase with each
agglomerative step. The runtime of single linkage clustering is quasi–linear in the

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number of edges in the watershed basin graph.
   Felzenszwalb et al. [2] and Guimaraes at al. [82] have proposed efficient image
segmentation methods that are quasilinear in the number of edges in the affinity graph.
We show that our method produces superior results to that of [2] for the segmentation
of neural images from serial electron microscopy.
   Our post-processing starts by examining the new graph on the basins of the
watershed transform, in which the edge connecting two basins is assigned the same
weight as the minimal edge connecting the basins in the original affinity graph. Then
single linkage clustering yields a hierarchical segmentation in which the lowest level
consists of the watershed basins. Each level of single linkage clustering is a flat
segmentation in which some of the basins are merged.
   Consider an undirected graph and let 𝑤𝑖𝑗 be the weight of the edge between vertices
𝑖 and 𝑗. We will refer to 𝑤𝑖𝑗 as the affinity of the two vertices. We define the affinity
of two clusters as the maximal affinity of any pair of vertices in the clusters:


                                𝑤 (𝐶1 , 𝐶2 ) =     max 𝑤𝑖𝑗                          (4.1)
                                                 𝑖∈𝐶1 ,𝑗∈𝐶2


   (It is understood that the maximum is only over vertex pairs for which the
corresponding edge exists.) This is the definition used by single linkage clustering. In
Kruskal’s algorithm, the edges are sorted so that their weights are in a non–increasing
order. In the starting clustering, every vertex of the graph as a cluster. In a single
pass through the edge list, if the edge connects a pair of distinct clusters, the clusters
are merged. The sequence of clusterings constitutes a hierarchical clustering of the
graph vertices.
   Let 𝐶1 and 𝐶2 be sets of graph vertices (“clusters”), and let Λ (𝐶1 , 𝐶2 ) be a
predicate on pairs of clusters, i.e., function taking on values in {0, 1}. The predicate
is assumed to be symmetric under interchange of 𝐶1 and 𝐶2 . Using the predicate, we
define Algorithm 8, a modification of Kruskal’s algorithm. In the special case that the
predicate is always false, Algorithm 8 reduces to single linkage clustering.


Definition 3. The predicate Λ (𝐶1 , 𝐶2 ) is said to be monotone if, for all 𝐶1 ⊆ 𝐶1′

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Algorithm 8 Modification of Kruskal’s algorithm.

Size-dependent-SLC(𝐺 = (𝑉, 𝐸))
1 𝑆 0 = {{1}, {2}, . . . , {|𝑉 |}}
2 𝑖=0
3 for 𝑒 ∈ 𝐸 in a non–increasing order
4      𝐶1 , 𝐶2 = clusters connected in 𝑆 𝑖 by 𝑒
5      if 𝐶1 ̸= 𝐶2 & Λ(𝐶1 , 𝐶2 ) is false.
6            𝑆 𝑖+1 = result of merging 𝐶1 and 𝐶2 in 𝑆 𝑖
7      else 𝑆 𝑖+1 = 𝑆 𝑖
8      𝑖 = 𝑖+1
9 return {𝑆 0 , 𝑆 1 , . . . , 𝑆 𝑖 }



and 𝐶2 ⊆ 𝐶2′ such that 𝑤 (𝐶1 , 𝐶2 ) = 𝑤 (𝐶1′ , 𝐶2′ ), the inequality Λ (𝐶1 , 𝐶2 ) ≤ Λ (𝐶1′ , 𝐶2′ )
holds.

Theorem 3. If the predicate Λ is monotone, it is satisfied for all pairs of clusters in
the final clustering produced by Algorithm 8.

                                                |𝐸|           |𝐸|
Proof. Between any pair of clusters 𝐶𝑖                 and 𝐶𝑗        in the final clustering, there exists
                                                                                  |𝐸|        |𝐸|
                                                                             (︁                    )︁
an edge 𝑒 between the clusters with weight equal to 𝑤 𝐶𝑖 , 𝐶𝑗                                           . Without loss
of generality, assume 𝑒 was examined at the (𝑘 + 1)-th step of the algorithm, at
which point it connected 𝐶𝑝𝑘 and 𝐶𝑞𝑘 . Since the edges are examined so that weights
                                                                    (︁       )︁                            (︁            )︁
are non-increasing, the weight of 𝑒 must equal 𝑤 𝐶𝑝𝑘 , 𝐶𝑞𝑘 so we have 𝑤 𝐶𝑝𝑘 , 𝐶𝑞𝑘 =
       |𝐸|   |𝐸|                                                                                           |𝐸|                |𝐸|
  (︁               )︁                     (︁      )︁
𝑤 𝐶𝑖 , 𝐶𝑗               . The predicate Λ 𝐶𝑝𝑘 , 𝐶𝑞𝑘 must have been satisfied, or 𝐶𝑖                               and 𝐶𝑗
could not remain distinct in the final clustering. As 𝐶𝑝𝑘 ⊆ 𝐶𝑖𝑛 and 𝐶𝑞𝑘 ⊆ 𝐶𝑗𝑛 it follows
                                                        |𝐸|   |𝐸|                              |𝐸|         |𝐸|
                                   (︁      )︁     (︁                )︁                  (︁                       )︁
from monotonicity that Λ 𝐶𝑝𝑘 , 𝐶𝑞𝑘 ≤ Λ 𝐶𝑖 , 𝐶𝑗                           and hence Λ 𝐶𝑖 , 𝐶𝑗                          must be
satisfied.

Theorem 4. The complexity of the algorithm is |𝐸𝑊 | log |𝐸𝑊 |.

Proof. Assuming real values of the weights, the complexity of the algorithm is domi-
nated by sorting the edges of 𝐸𝑊 . If we use union-find data structure, an iteration
of the step 4. takes 𝑂(𝑢(𝑛)), where 𝑛 is the number of basins and 𝑢 is the inverse
Ackermann function.

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Theorem 5. If the algorithm iterates over the edges of the maximum spanning tree,
the resulting hierarchical clustering will be the same as iterating over all edges.

Proof. Let 𝐸𝑇 be the set of MST edges. Assume we run the previous algorithm
considering only edges in 𝐸𝑇 . We want to prove that Λ will be satisfied for all pairs
of the clusters at the highest level. Again, assume Λ(𝐶𝑖𝑛 , 𝐶𝑗𝑛 ) is not satisfied for some
                    (︁        )︁
pair of clusters, 𝑤 𝐶𝑖𝑛 , 𝐶𝑗𝑛 < 𝜏 (min{𝑆(𝐶𝑖𝑛 ), 𝑆(𝐶𝑗𝑛 )}). That means there exist an
                                            (︁       )︁
edge 𝑒 ∈ 𝐸𝑊 with the weight equal to 𝑤 𝐶𝑖𝑛 , 𝐶𝑗𝑛 . If 𝑒 ∈ 𝐸𝑇 , then 𝑒 was examined in
the algorithm. We follow the same steps as above to show that when 𝑒 was examined
the predicate must have been unsatisfied meaning that 𝐶𝑖𝑛 and 𝐶𝑗𝑛 can’t be two
different clusters. If 𝑒 = {𝑝, 𝑞} is not on the MST, then there is a path in the graph
from 𝑝 to 𝑞 where all the edges on the path have the weight less or equal to the
weight of 𝑒. Without losing generality, assume 𝑆(𝐶𝑖𝑛 ) ≤ 𝑆(𝐶𝑗𝑛 ) and 𝑝 ∈ 𝐶𝑖𝑛 . Then
𝜏 (𝑆(𝐶𝑗𝑛 )) > 𝑤(𝑒). Let 𝑒𝑥 = {𝑎, 𝑏} be an edge on the path from 𝑝 to 𝑞 in the MST
such that 𝑎 ∈ 𝐶𝑖𝑛 and 𝑏 ∈
                        / 𝐶𝑖𝑛 . Such edge must exist, otherwise 𝑝 and 𝑞 would be part
of the same cluster. As 𝑒𝑥 is in the MST, it was examined in the algorithm. When 𝑒𝑥
was examined the size of the cluster 𝐶 that 𝐵𝑎 was part of was smaller or equal than
𝑆(𝐶𝑗𝑛 )). Hence 𝜏 (𝑆(𝐶)) ≥ 𝜏 (𝑆(𝐶𝑗𝑛 )) > 𝑤(𝑒) ≥ 𝑤(𝑒𝑥 ). Therefore 𝑒𝑥 can’t exist, and 𝑝
and 𝑞 have to be part of the same component. Contradiction.


4.7.1     Example predicates

Consider the predicate

                              ⎧
                              ⎨1,   if 𝑤 (𝐶1 , 𝐶2 ) ≤ 𝜏 (min {𝑆(𝐶1 ), 𝑆(𝐶2 )})
                              ⎪
                              ⎪
              Λ(𝐶1 , 𝐶2 ) =                                                           (4.2)
                              ⎪
                              ⎩0,
                              ⎪
                                    otherwise

   where 𝑆(𝐶) is the size of cluster 𝐶 (e.g. number of vertices in the cluster). The
predicate is useful if we have prior knowledge about the sizes of the true clusters. We
will assume that the threshold 𝜏 is a non-decreasing function, so that higher affinity is
required for merging larger clusters.

Lemma 2. The predicate of Eq. (1) is monotone.

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Proof. For the sake of contradiction, suppose that Λ(𝐶𝑖𝑛 , 𝐶𝑗𝑛 ) is false, i.e.,

                             (︁       )︁
                           𝑤 𝐶𝑖𝑛 , 𝐶𝑗𝑛 > 𝜏 (min{𝑆(𝐶𝑖𝑛 ), 𝑆(𝐶𝑗𝑛 )})

                                                     (︁       )︁
Then there exists an edge with weight equal to 𝑤 𝐶𝑖𝑛 , 𝐶𝑗𝑛 . Without loss of generality,
assume 𝑒 was examined at the (𝑘 + 1)-th step of the algorithm and the following
predicate was satisfied:

                             (︁       )︁
                           𝑤 𝐶𝑝𝑘 , 𝐶𝑞𝑘 ≤ 𝜏 (min{𝑆(𝐶𝑝𝑘 ), 𝑆(𝐶𝑞𝑘 )})


As 𝐶𝑝𝑘 ⊆ 𝐶𝑖𝑛 and 𝐶𝑞𝑘 ⊆ 𝐶𝑗𝑛 then


                        min{𝑆(𝐶𝑝𝑘 ), 𝑆(𝐶𝑞𝑘 )} ≤ min{𝑆(𝐶𝑖𝑛 ), 𝑆(𝐶𝑗𝑛 )}


and

                                                               (︁       )︁    (︁          )︁
      𝜏 (min{𝑆(𝐶𝑝𝑘 ), 𝑆(𝐶𝑞𝑘 )}) ≤ 𝜏 (min{𝑆(𝐶𝑖𝑛 ), 𝑆(𝐶𝑗𝑛 )}) < 𝑤 𝐶𝑖𝑛 , 𝐶𝑗𝑛 = 𝑤 𝐶𝑝𝑘 , 𝐶𝑞𝑘




   With a slight modification of the predicate we could allow for an arbitrary threshold
function (changing the condition to 𝑤 (𝐶1 , 𝐶2 ) ≥ min {𝜏 (𝑆(𝐶1 )), 𝜏 (𝑆(𝐶2 ))}).

   However, restricting the function to be non-increasing allows us to design a more
efficient algorithm. It is also more intuitive to allow higher saliency for merging small
clusters and require lower saliency as the sizes of the clusters grow.

   As 𝜏 is required to be non-increasing, we can find a non-decreasing function 𝜔
such that when (2) is satisfied 𝜔(𝑤 (𝐶1 , 𝐶2 )) ≤ min {𝑆(𝐶1 ), 𝑆(𝐶2 )} is satisfied. This
allows us to either specify either 𝜏 or 𝜔 used for the predicate. For example, when 𝜔
is constant the algorithm will tend to aggressively merge segments smaller than the
given constant.

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           (a)                  (b)                   (c)                 (d)




           (e)                  (f)                  (g)                  (h)

Figure 4-4: Segmentation of a 2563 EM image by our method and that of [2]: (a)
slice of the raw image; (b) slice of nearest neighbor affinity graph, with 𝑥𝑦𝑧 affinities
represented with RGB; (c) watershed transform of the affinity graph; (d) watershed
transform after low thresholding with with 𝜖 = 0.01 and high thresholding with
𝜃 = 0.9 ; (e) post-processing with size-dependent single linkage clustering using
𝜔(𝑤) = 3000 (1 − 𝑤); (f, g) results of the method proposed by [2] with 𝑘 = 0.5 yields
severe oversegmentation while 𝑘 = 10 merges neurons. (h) ground truth segmentation
from human expert.



4.8      Results


We applied our methods to 3D electron microscopic brain images [83] (Fig. 4-4a).
Affinity graphs were computed using convolutional networks described in [11] (Fig. 4-
4b). The watershed transform produced severe oversegmentation (Fig. 4-4c), which
was reduced by pre-processing the affinity graph with upper and lower thresholds
(Fig. 4-4d). Size-dependent single linkage clustering further reduced oversegmentation
(Fig. 4-4e). The first function enforced all the segments to be at least some minimal
size. The second and the third functions require the minimal size of the segment to
be proportional to the affinity (or the square of affinity).

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                     1


                    0.9
 Rand merge score




                    0.8


                    0.7
                              Felz. τ(C) = k/|C|
                              Felz. on WBG
                    0.6
                              τ(s) = u(k-s)
                              ω(w) = k(1-w)
                    0.5
                              ω(w) = k(1-w) 2
                    0.4
                          0   0.1      0.2      0.3   0.4     0.5   0.6     0.7        0.8   0.9   1
                                                      Rand split score

                                                            (a)                                             (b)

Figure 4-5: Scores of our method and that of relative to the ground truth segmentation
(a) Our method with several threshold functions, versus that of applied to affinity
graph and to watershed basin graph. Upper right is better, lower left is worse; (b)
Segmentation obtained by our method with 𝜔(𝑤) = 3000(1 − 𝑤)


4.8.1                               Measuring the quality of the segmentations

We evaluated the segmentations by comparing to the ground truth generated by a
human expert. Split and merge scores were computed by

                                                                                𝑝2𝑖𝑗                2
                                                                            ∑︀                         ∑︀
                                                                                  𝑖𝑗            𝑖𝑗 𝑝𝑖𝑗
                                                              𝑉split      = ∑︀ 2 and 𝑉merge = ∑︀ 2                (4.3)
                                                                              𝑘 𝑡𝑘               𝑘 𝑠𝑘

                     where 𝑝𝑖𝑗 is the probability that a randomly chosen voxel belongs to segment
𝑖 in the proposed segmentation and segment 𝑗 in the ground truth, 𝑠𝑖 and 𝑡𝑗 are
probabilities of a randomly chosen voxel belonging to predicted segment 𝑖 and ground
truth segment 𝑗 respectively. The scores are similar to the Rand index, a well-known
metric for clustering [84], except that they distinguish between split and merge errors.
Higher scores mean fewer errors. Scoring was restricted to the foreground voxels in the
ground truth. We tested our method with several threshold functions, and also applied
the method of [2] to the affinity graph and to the watershed basin graph. Our method
achieved superior scores (Fig. 4-4). The parameter 𝑘 in both methods determines the
trade-off between the amount of mergers and splits. When 𝑘 in the method of [2] is
optimized to have approximately the same amount of mergers as our method, large
amount of splits are introduced (Fig. 4-4f) and vice versa (Fig. 4-4g).

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4.9      Summary and conclusions
To show confidence about high values of affinities, and in order to allow for unsegmented
voxels, we introduce two thresholds for


   1. Low thresholding the affinity graph (𝜖).

   2. High thresholding the affinity graph (𝜃).


   The singleton vertices are not assigned to any watershed basin and are considered
background, which is often a desired result. Like watershed cuts, our algorithm has
linear time complexity.
   The use of multiple passes makes it possible to divide plateaus evenly. A second
motivation for our algorithm is that it separates the computation into two passes that
are parallelizable versus two passes that are not. A parallel variant of our algorithm
will be described in a future paper.
   The runtime of our size dependent single linkage clustering used for post–processing
makes it very suitable for segmenting very large images. It greatly outperforms
other methods similar in runtime complexity. Our method can greatly reduce the
oversegmentation while introducing virtually no mergers.
   The watershed transform is commonly used to reduce the number of segments
before applying more sophisticated segment agglomeration methods. The main benefits
of the transform are its computational complexity (linear) and its conservative nature
– it produces very few, or none false merges. However, the transform comes with some
down–sides, with the three major ones being:


   1. It is extremely susceptible to noise.

   2. Produces severe over–segmentation. Even though the number of segments is
      typically much smaller than the number of original voxels, the segment count
      might be to large for the computationally expensive agglomeration algorithms.

   3. It doesn’t allow for unsegmented voxels.

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   Except for increasing the complexity (from linear to quasi–linear), our modified
watershed transform combined with our single–linkage clustering has all the benefits
of the watershed transform, while addressing all the down–sides.
   When a 100% correct segmentation is required the computer generated segmenta-
tion is proof read by a human. Our algorithms can be used for computer–assisted proof
reading, where a user can tweak the algorithm parameters (𝜖, 𝜃 and the agglomeration
predicate) while getting the result in real time. This can greatly reduce the work
required to proof read large volumes.
   Greatly reducing the number segments, while still being conservative allows for
proof–reading by simply selecting and merging segments to obtain true segmentation.
For that reason, our approach has been used for crowdsourcing the proof–reading [29].
Non–experts proof–read the segmentation by playing an online game, which is similar
to a 3D coloring book.




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Chapter 5

Conclusions and Future Directions

In this thesis we have proposed novel algorithms for ConvNet training and inference.
We have studied the theoretical properties of the watershed transform of edge–weighted
graphs, and proposed modifications and additions to the algorithm.
   Our ConvNet training algorithms are suited for multi–core and many–core CPUs.
We showed how to minimize the computational complexity by using FFT–based
convolution with memoization. A custom scheduling algorithm and a novel wait–
free summation algorithm allowed us to achieve high scalability. We show that,
for wide enough networks, our algorithm achieves linear speedup in the number of
cores available. The memory available to the CPU allowed our algorithm to train
much larger ConvNets compared to other currently available methods. We showed
that depending on the ConvNet architecture and kernel sizes, our approach can be
sometimes slower and sometimes faster than the alternatives.
   To maximize ConvNet inference throughput we have proposed a set of primitives
for different ConvNet layer types, for both the CPU and the GPU. We also showed
that the ConvNet throughput highly depends on the size of the image processed by
the ConvNet. Combining our primitives with the ones of cuDNN [53], we showed how
to achieve extremely high throughput. Comparing our methods against other state of
the art methods, on sample 3D ConvNets, achieved an astonishing 10× speedup in
the worst case, and more than 15× on average.
   We also studied the theoretical properties and proposed a linear–time algorithm

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for the watershed transform on the edge–weighted graphs. We showed how the prior
knowledge about the true segments can be used to modify the input graph in order to
achieve better segmentation. The knowledge of the true segment sizes was also used
for our size–dependent single linkage clustering. We showed that this quasi–linear
agglomerative clustering algorithm can greatly reduce the over–segmentation without
introducing false mergers




5.1        Possible improvements to ZNN and ZNNi

There are two major differences between ZNN and ZNNi capabilities. First, ZNN
is capable of training a ConvNet of an arbitrary topology, whereas ZNNi can only
operate on layered networks. Future research should include modifying ZNNi so that
it can also operate on an arbitrary topology ConvNets. On the other side, ZNNi can
utilize both multi–core CPUs and GPUs. We showed that this approach can be really
effective. We believe that this approach can also be applied to ConvNet training, and
should be studied in future.

   When FFT–based convolutions are used, training a ConvNet using ZNN spends
approximately 66% of the time doing FFTs. For inference using FFT–based convo-
lutions ZNNi (on the CPU) spends only 10% of the time on the FFTs. This is due
to our highly optimized pruned FFTs. Using ZNNi’s pruned FFTs in ZNN is not
straight–forward, as ZNN uses sparse kernels. Designing an algorithm for pruned
FFTs of sparse kernels can greatly improve the training speed of ZNN and should be
considered in future.

   Finally, the scheduling algorithm for the CPU–based convolutional layer of ZNNi
utilizes the information about the distribution of the cores among different physical
chips in order to increase cache locality. Such approach should be considered for ZNN
as well.

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5.2     Parallel watershed transform and size–dependent
        single–linkage clustering
Finally, the multi–pass linear algorithm of the watershed transform on edge–weighted
graphs separates the procedure into trivially parallelizable steps, and ones that need
special handling when parallelized.
   Partial work on both parallelizing and distributing the watershed transform and
the size–dependent single linkage clustering has already been done by the author, with
promising results. We expect a separate publication in future that will describe the
details of the algorithm, and analyze the scalability of the algorithm.




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Chapter 6

Summary and Reflections

                                                   If you’re walking down the right
                                                   path and you’re willing to keep
                                                  walking, eventually you’ll make
                                                   progress.

                                                                        Barack Obama


   Universal approximation theorem states that a neural network with a single hidden
layer and finite number of neurons can, arbitrary closely, approximate any continuous
function [85, 86]. Hence, it can also approximate a neural network with multiple
hidden layers. This fact, combined with the high computational cost of training deep
networks, kept neural networks on the dark side for a long time.
   It was not until the rise of graphics hardware (GPUs) that the force awakened and
neural networks became a popular research topic under a new brand – “deep learning”.
In 2012, Krizhevsky at al. [43] published an architecture of a deep ConvNet named
ImageNet, demonstrating that deep convolutional networks can achieve superior results
in image classification. Soon after, their package for training deep neural networks
on GPUs – Cuda-convnet [87] became extremely popular. The ConvNet research
resurrected, achieving state of the art results in many machine vision problems.
   I can’t help but notice that impatience is a huge deterrent among researches
(this is probably a trait of non–researches as well). GPUs were not necessary for

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ImageNet. Training ImageNet with ordinary hardware would just take longer, but
would essentially produce identical results. Moreover, large kernel sizes in ImageNet
allowed for efficient CPU implementation (using FFTs) as well. However, using direct
convolution on GPUs just seemed more natural.
      I’m scared that the past might be repeating again. Even though recent work on
training ConvNets on GPUs such as Caffe [30], Theano [32] and cuDNN [53] have
revolutionized the field, they have also introduced a new set of limitations.
      Nearly all modern ConvNets have layered structure and are being trained using
batch gradient descent. Moreover, they typically have small filters and large number
of down–sampling layers. Alternative approaches are avoided mostly because they
can not efficiently utilize the GPU, thus requiring long training time. 3D ConvNets
became a bit more popular as the GPUs started having more RAM, however, most
researcher still prefer 2D networks as they are faster to train. This forces seem so
powerful, that even when the CPUs started catching up with the computational power
of the GPUs, CPU training algorithms [39, 40] were nearly just ports of their GPU
counterparts, keeping all the limitations. This was neither necessary nor an optimal
way to utilize CPUs which have far less restrictions than the GPUs.
      This is where the work presented in this thesis is trying to shake the field. ZNN
and ZNNi try to break–up from the popular approach of having the hardware drive
the advances in ConvNet research. ZNN focused on lifting restrictions on the size and
topology of ConvNets while still achieving high training speed. The goal was to make
as little compromises as possible, and for that reason multi–core CPUs were chosen
over GPUs because of their more flexible programming model.
      At this time, multi–chip multi–core CPU systems have nearly the same computa-
tional power as the most powerful GPUs, while having more flexible programming
model and access to more RAM. This, however will probably change in future. CPUs
are getting wider SIMD registered, and fully utilizing their computational power
becomes more complicated. This limits the set of algorithms that can achieve full
                                                                                1
utilization. Also, as number of chips on a single system increase, NUMA             induces
  1
      non–uniform memory access


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even more limitations to the algorithm designs. On the other side GPUs are getting
more RAM, and by allowing different streams to execute different code are getting
closer to the CPUs multi–threaded programming model. What ZNN is meant to teach,
is that the problem should drive the choice of hardware, which happened to be CPUs
at this point of time, but might be something else in the future.
   While ZNN is designed to be as flexible as possible, ZNNi is trying to solve a specific
problem of maximizing throughput of layered 3D ConvNets. It is a disconnect from the
popular “one fits them all” approach – where the same algorithm is used for training
and inference. Unlike ZNN, for which there was a clear choice on which architecture to
use, ZNNi deferred that to run–time. The natural way of decomposing the inference
algorithm into sub–tasks allows for optimization of each task independently. It is
not likely that, in future, either CPUs or GPUs will perform strictly better than the
alternative for all ConvNet architectures. ZNNi approach of combining primitives is
here to stay, while providing optimized primitives for new generations of hardware to
come.
   Just a couple of years ago, the cost of inference of a peta–voxel dataset on AWS
could machines, using ConvNet described in [11] and publicly available ConvNet
packages was estimated to about $250,000. Moreover, the computation would either
require months or a design of a sophisticated distributed system for parallel processing.
Our novel approach – ZNNi combined with the slight improvement of hardware
speed in the past two years greatly lowers this cost to only a couple of thousand
dollars for hardware and less than $1,000 for consumed electricity. Additionally, the
ConvNet inference can be done in real–time, it can keep up the with the speed of
image acquisition.
   Traditionally the ConvNet processing was considered to be the bottleneck of the
connectomics pipeline, both in time and cost. The work in this thesis shows that this
is not the case anymore. Not counting the price of the microscope, the major cost is
currently data storage.
   I suspect that, in future, the cost bottleneck will be oscillating between storage
and ConvNet processing. As described in the introduction, the segmentation obtained

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by the pipeline is expected to be perfect, or nearly perfect. As the time and cost of
data processing gets lower, the time bottleneck switches to the final, proof–reading
stage. The time spent proof–reading is inversely proportional to the accuracy of
the automatically obtained segmentation. To improve the accuracy, larger ConvNet
architectures are used [55, 33]. This lowers the time required for proof–reading, but
at the same time increases the computational complexity of the ConvNet inference;
thus increasing the processing time and cost. New hardware and algorithms will then
eventually catch up, shifting the time bottleneck to the proof–reading stage once
again.
   Having extremely accurate and real–time segmentation for the connectomics
pipeline is definitely something that is highly desirable, but is not by any means
critical. With lower accuracy, the proof–reading stage might take longer, but will
eventually produce the correct segmentation. On the other hand, the speed and/or
accuracy of ConvNets applied to other vision problems might be an absolute must.
Probably the most popular example is the self–driving car and/or self–flying drone. To
avoid fatal accidents, images/videos collected by vehicles’ cameras must be processed
in real time, and with very high accuracy. Other applications, such as disease detection
from CT images might not require real–time processing, but would require an extremely
high accuracy.
   The number of vision problems that can benefit from ConvNets is limitless. I
believe that for each imaging device, and each device with a camera, there are
number of vision applications to which ConvNets can be applied. Each such device
would greatly benefit from having an attached hardware that can efficiently perform
ConvNet computation. The efficiency here might mean speed, power usage, etc...
In my opinion, this ever–increasing number of ConvNet applications will create a
demand for custom ConvNet hardware. It is just a matter of time when CNNPUs
(Convolutional Neural Network Processing Unites) will appear on the market.
   By teaching us how to efficiently leverage currently available and future general
purpose computing hardware, I hope that the work presented in this thesis will help
bridge the gap until such specialized hardware becomes a norm.


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Appendix A

Sample pipeline implementation
and results

We present results of a sample pipeline that uses the algorithms described in this
thesis. The results presented in this chapter are results of a joint efforts and have
been partially published in [55, 56].




A.1      Data

The datasets used was acquired from the piriform cortex of an adult mouse prepared
with aldehyde fixation and reduced osmium staining [1]. The tissue was sectioned
using the automatic tape collecting ultramicrotome (ATUM) [9] and sections were
imaged on a Zeiss field emission scanning electron microscope [88]. The 2D images
were assembled into 3D stacks using custom MATLAB routines and TrakEM2. The
full dataset had size of 300×300×60 um. The imaging resolution was 7×7×40 nm per
voxel, yielding a volume with the size of 71500 × 71500 × 1500 voxels (approximately
7 teravoxels). 10 stacks were segmented by hand using VAST [9], out of which 7 were
used for training and 1 for validation and 2 for test purposes. One training and one
test volume is shown on Figure A-1

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                    (a)                                         (b)

               Figure A-1: A (a) training volume and (b) test volume.


A.2       ConvNet architecture

The ConvNet architecture used for the first stage of the pipeline is described in
Table A.1. It consists of 16 layers, 14 of which are convolutional and 4 max–pooling.
All but the last of the convolutional layers had ‘rectified linear” activation functions.
The last layer had “logistics” activation function. The ConvNet had total of 353, 695
trainable parameters, and a modest field of view of 73 × 73 × 7.



A.3       Training procedure

The ConvNet was trained using ZNN (Chapter 2) on an Amazon Web Services machine
of c4.8xlarge. A patch based training was performed [55] with the output patch size of
70 × 70 × 5 (corresponding to an input patch of 142 × 142 × 11). The training consisted
of 25, 000 iterations of the backpropagation algorithm with “binomial cross-entropy”
loss function. Each iteration took approximately 3.7 seconds, yielding a total training
time of approximately 26 hours. The “Conv5b” layer had a “dropout” rate of 50%, a
method used to prevent ConvNets from over–fitting described in [57] and implemented
as a part of ZNN.
   The evolution of the loss and the classification errors during the training are shown

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                 Layer           Width       Type        Filter size       Filter stride                            Transfer Fn.          # Params
                 Conv1a           24        Conv          3×3×1                  1×1×1                                ReLU                     240
                 Conv2a           24        Conv          3×3×1                  1×1×1                                ReLU                    5, 208
                 Conv3a           24        Conv          2×2×1                  1×1×1                                ReLU                    2, 328
                 Pool1             24       Pool          2×2×1                  2×2×1                                  -                        -
                 Conv2a           36        Conv          3×3×1                  1×1×1                                ReLU                    7, 812
                 Conv2b            36       Conv          3×3×1                  1×1×1                                ReLU                   11, 700
                 Pool2             36       Pool          2×2×1                  2×2×1                                  -                        -
                 Conv3a           48        Conv          3×3×1                  1×1×1                                ReLU                   15, 600
                 Conv3b            48       Conv          3×3×1                  1×1×1                                ReLU                   20, 784
                 Pool3             48       Pool          2×2×2                  1×1×1                                  -                        -
                 Conv4a           60        Conv          3×3×2                  1×1×1                                ReLU                   51, 900
                 Conv4b            60       Conv          3×3×2                  1×1×1                                ReLU                   64, 860
                 Pool4             60       Pool          2×2×2                  1×1×1                                  -                        -
                 Conv5a           60        Conv          3×3×2                  1×1×1                                ReLU                   64, 860
                 Conv5b           100       Conv          3×3×2                  1×1×1                                ReLU                  108, 100
                 Output            3        Conv          1×1×1                  1×1×1                               Logistics                 303

                             Table A.1: ConvNet used for the first stage of the pipeline.




                 0.7                                                                                0.5
                                                     Training Error                                                                     Training Error
                                                     Validation Error                              0.45                                 Validation Error
                 0.6
                                                                                                    0.4
                                                                            Classification Error
 Cross Entropy




                 0.5                                                                               0.35
                                                                                                    0.3
                 0.4
                                                                                                   0.25
                 0.3                                                                                0.2
                                                                                                   0.15
                 0.2
                                                                                                    0.1
                 0.1                                                                               0.05
                       0   0.5      1          1.5         2        2.5                                   0   0.5       1         1.5         2        2.5
                                        Iteration                ×10 5                                                  Iteration                   ×10 5


                                         (a)                                                                                (b)

Figure A-2: The evolution of the (a) loss and (b) classification error during the training
procedure.




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                    (a)                                        (b)

Figure A-3: Results generated by the trained Convnet: (a) affinity graph; (b) watershed
transform of the affinity graph.


in Figure A-2.



A.4        Results
We examine results on one of the test volumes. The size of the resulting affinity graph
was 468 × 468 × 165 × 3.
   Figure A-3 shows the affinity graph generated by the trained ConvNet, and the
result of applying the watershed algorithm described in (Chapter 4). The presence of
severe over–segmentation is clearly visible.


A.4.1      Post–processing

We used post–processing methods described in Chapter 4. First, the affinity graph
was low thresholded at 𝜖 = 0.3 and high thresholded at 𝜃 = 0.999. The choice of the
values for 𝜖 and 𝜃 were empirically determined. The result is shown in Fig. A-4a. Even
though the number of segments is greatly reduced, there is still some over–segmentation
present.
   Size dependent single–linkage clustering 4.7 is then applied to the result obtained.
The predicate used was

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                   (a)                                      (b)




                                       (c)

Figure A-4: Watershed of low/high thresholded affinity graph shown in (a). Result
after post–processing with size dependent single–linkage clustering shown in (b).
Ground truth is shown in (c).




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                            1

                          0.95
       Rand merge score    0.9

                          0.85

                           0.8

                          0.75

                           0.7

                          0.65          Watershed (high = 0.999, low = 0.3)
                                        Watershed + Size Dep. SLC
                           0.6
                                 0          0.2             0.4              0.6        0.8         1
                                                          Rand split score
Figure A-5: Rand split score vs Rand merge scores for the two post–processing results.
Top right is better.


                                                 ⎧
                                                 ⎨1,   if 𝑤 (𝐶1 , 𝐶2 ) ≤ 𝜏 (min {𝑆(𝐶1 ), 𝑆(𝐶2 )})
                                                 ⎪
                                                 ⎪
                                 Λ(𝐶1 , 𝐶2 ) =                                                          (A.1)
                                                 ⎪
                                                 ⎩0,
                                                 ⎪
                                                       otherwise

   With

                                                            ⎧
                                                            ⎨𝑤    min ,   if 𝑠 < 𝑆min
                                                            ⎪
                                                            ⎪
                                                  𝜏 (𝑠) =                                               (A.2)
                                                            ⎪
                                                            ⎩1,
                                                            ⎪
                                                                          otherwise

   This predicate be false if and only if one of the 𝐶1 or 𝐶2 has a size smaller than
𝑆min and 𝑤(𝐶1 , 𝐶2 ) is higher than 𝑤min . In other words, we want to merge segments
until each one has size of at least 𝑆min , but allow merging only when 𝑤(𝐶1 , 𝐶2 ) is
greater than 𝑤min . We chose 𝑤min = 0.3, and the optimal value for 𝑆min = 8192 was
obtained by grid search. Fig. A-4b shows the result of the post–processing.
   Both the watershed transform of the thresholded affinity graph, and the size depen-
dent single–linkage clustering create a flat segmentation. A hierarchical segmentation
is then obtained as described in Chapter 4. On Figure A-5 we show the values of
the Rand split score and the Rand merge score for each level of the hierarchy. The

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Rand split score and Rand merge score were computed by the method explained in
Section 4.8.1, and were restricted to the foreground voxels in the ground truth.
   It should be noted that the Rand score of the final segmentation should not be used
as a metric for evaluating ConvNet performances. ConvNets are trained to optimize
provided “loss function” A-2.
   Perfect ConvNet performances will indeed yield a perfect Rand score, however
there is no guarantee that the Rand score would increase as the ConvNet error rates
decrease. For these reason, Rand split and Rand merge scores in Fig. A-5 show
the relative improvement of the final segmentation when using our size–dependent
single–linkage clustering, rather than absolute performances of the proposed methods.
   Loss functions such as MALIS [89] are designed to maximize the Rand score when
simple single linkage clustering of the produced affinity graph is used. Future work
should include design of a loss function that minimizes the Rand score of the watershed
transform of the affinity graph.




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